            Case 21-21632-JAD                       Doc 12            Filed 08/13/21 Entered 08/13/21 11:45:23                       Desc Main
                                                                     Document      Page 1 of 51
 Fill In this infonnallon to Identify your case:
 Debtor 1                 Michael T. Cioffi
                          First Name                         Middle Name          Last Name
 Debtor 2
 (Spouse if, filingi      First Name                        M,ddle Name           Last Name

 United States Bankruptcy Court for the:              WESTERN DISTRICT OF PENNSYLVANIA

 Case number           21-21632
 I” k’wn)
                                                                                                                                C    Check if this is an
                                                                                                                                     amended filing



Official Form lO6Sum
Summary of Your Assets and Liabilities and Certain Statistical Information                                                     12115
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. Fill out all of your schedules first; then complete the information on this form. If you are filing amended schedules after you file
your original forms, you must fill out a new Summary and check the box at the top of this page.

IRit            Summarize Your Assets

                                                                                                                                    Your assets
                                                                                                                                    Value of what you o

 1.     Schedule AIB: Property (Official Form 1 06N8)
        Ia. Copy line 55, Total real estate, from Schedule NB                                                                       $               957,208.00

        lb. Copy line 62, Total personal property, from Schedule NB                                                                 $                   78,440.34

        1 c. Copy line 63, Total of all property on Schedule NB                                                                     $             1,035,648.34

i!Thv           Summarize Your Liabilities

                                                                                                                                    Your liabilities
                                                                                                                                    Amount you owe

 2.     Schedule D: Creditors Who Have Claims Secured by Property (Official Form 106D)
        2a. Copy the total you listed in Column A, Amount of claim, at the bottom of the last page of Part 1 of Schedule D...       $               397,115.64

 3.     Schedule 5fF’ Creditors Who Have Unsecured Claims (Official Form IO6EJF)
        3a. Copy the total claims from Part 1 (priority unsecured claims) from line 6e of Schedule 5fF                                                         0.00

        3b, Copy the total claims from Part 2 (nonpriority unsecured claims) from line 6j of Schedule 5/F                           $             1,432,726.02


                                                                                                         Your total liabilitIes $            1,829,841.66


IFliIC          Summarize Your Income and Expenses

 4.     Schedule I Your Income (Official Form 1061)
        Copy your combined monthly income from line 12 of Schedule I                                                                $                    7,494.87

 5.     Schedule J: Your Expenses (Official Form 1 06J)
        Copy your monthly expenses from line 22c of Schedule J                                                                      $                    8, 3 61.32

iRita Answer These Questions for Administrative and Statistical Records

6.      Are you filing for bankruptcy under Chapters 7, 11, or 13?
        Q No. You have nothing to report on this part of the form. Check this box and submit this form to the court with your other schedules

        • Yes
 7.     What kind of debt do you have?

        Q       Your debts are primarily consumer debts. Consumer debts are those ‘incurred by an individual primarily for a personal, family, or
                household purpose.’ 11 U.S.C. § 101(8). Fill outlines 8-Yg for statistical purposes. 28 U.S.C. § 159.

        •   Your debts are not primarily consumer debts. You have nothing to report on this part of the form. Check this box and submit this form to
            the court with your other schedules.
 Official Form lO6Sum           Summary of Your Assets and Liabilities and Certain Statistical Information                        page 1 of 2
Software copyright (ci 1996.2021 Best case, LLc w,nv besicase corn                                                                        Deal   case   Bankruptcy
         Case 21-21632-JAD                              Doc 12           Filed 08/13/21 Entered 08/13/21 11:45:23                       Desc Main
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Debtor 1       Michael T. Cioffi                                                                Case number (if known) 21-21632

8.     From the Statement of Your Current Monthly Income: Copy your total current monthly income from Official Form
       122A-1 Line 11; OR, Form 122B Line 11; OR, Form 122C-1 Line 14.                                                              $


9.     Copy the following special categories of claims from Part 4, lIne 6 of Schedule ElF:

                                                                                                             Total claim
       From Part 4 on Schedule ElF, copy the following:
       9a. Domestic support obligations (Copy line 6a.)                                                       $

       9b. Taxes and certain other debts you owe the government. (Copy line 6b.)                              $

       9c. Claims for death or personal injury while you were intoxicated. (Copy line 6c.)                    $

       9d. Student loans. (Copy line 6f.)                                                                     $

       9e. Obligations arising out of a separation agreement or divorce that you did not report as
           priority claims. (Copy line 6g.)                                                                   $

       9f. Debts to pension or profit-sharing plans, and other similar debts. (Copy line Oh.)                +$


       9g. Total. Add lines 9a through 9f.                                                               :




Official Form lO6Sum                                   Summary of Your Assets and Liabilities and Certain Statistical Information                  page   2 of 2
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                                                   -
                                                                                                                                             Best case Bankruptcy
           Case 21-21632-JAD                                  Doc 12           Filed 08/13/21 Entered 08/13/21 11:45:23                                      Desc Main
                                                                              Document      Page 3 of 51
 Fill in this Information to identify your case and this filing:
 Debtor 1                    Michael_T. Cioffi
                             First Name                                 Middia Name                        Last Name
 Debtor 2
 Spouse,   if   filing)      Firal Nama                                 Middle Name                        Last Name

 United States Bankruptcy Court for the:                      WESTERN DISTRICT OF PENNSYLVANIA

 Case number              21-21632                                                                                                                            D     Checkifthisisan
                                                                                                                                                                    amended filing



Official Form IO6NB
Schedule A/B: Property                                                                                                                                             12115
In each category, separately list and describe Items. List an asset only once. lan asset fits in more than one category, list the asset In the category where you
think it fits best. Be as complete and accurate as possible. if two married people are filing together, both are equally responsible for supplying correct
InformatIon. II more space is needed, attach a separate sheet to this farm, On the top of any additional pages, wrIte your name and case number (If known).
Answer every questIon.

I2rlii Describe Each ResIdence, Building, Land, or Other Real Estate You Own or Have an Interest in

1. Do you own or have any legal or equItable interest in any residence, building, and, or simIlar property?

   C   No Go ID Part 2.
   • Yes. Were is the properly?




 1.1                                                                            What is the property? Check a tr.at arpy
       2842 Greene Drive                                                              •    Single-family home                        Do not deduct secured claims or exempticns. Put
       Street ac&ess       ava. aD e. or DIrer daasrioliw’                                                                           the amount of any secured claims on ScheduleD:
                                                                                           Duplex or mull’.unit bu.lding
                                                                                                                                     Creditors Who Have Claims Secured by Property.
                                                                                           Condominium or cooperative
                                                                                      ci
                                                                                      Q    Manufactured or mobile home
                                                                                                                                     Current value of the       Current value of the
       Greensburg                         PA         15601-8972                       Q    Land                                      entire property?           portion you own?
       City                               Slate              ZIP coda                 C    investment properly                             $537208.00                   $537,208.00
                                                                                      C    Timeshare
                                                                                                                                     Describe the nature of your ownership interest
                                                                                      C    Other                                     (such as fee simple, tenancy by the entireties, or
                                                                                Who has an interest in the property? Chec one        a life estate), if known.
                                                                                      C    Deotor 1 only                             entireties
       Westmoreland                                                                   C    Deotor 2 only
       County                                                                         C    Deotcr I and Debtor 2 only
                                                                                                                                         Check if this is community property
                                                                                      •    At least one of the debtors and anolher       (see rstnict.cis)
                                                                                Other Information you wish to add about this item, such as local
                                                                                property Identification number
                                                                                Tax Id. No. 57-18-00-0-144




Official Form 106A/B                                                                      Schedule NB: Property                                                                   page 1
Software Copyright () 1996-2021 BasI Case, LLC -‘wrw.bestcase.com                                                                                                      Best Case Bankruptcy
         Case 21-21632-JAD                                  Doc 12     Filed 08/13/21 Entered 08/13/21 11:45:23                                       Desc Main
                                                                      Document      Page 4 of 51
Debtor 1        Michael T. Cioffi                                                                                      Case number (if known)    21 -21632

      If you own or have more than one, list here:
1.2                                                                   What Is the property? Check all that apply
      2860 Greene Drive                                                  C   Single-family home                               Do not deduct secured claims or exemptions. Put
      Street address, II available, or other descrrption                                                                      the amount of any secured claims on Schedule a
                                                                         C Duplex or multi-unit building                      Creditors Who Have C/aims Secured by Property.
                                                                         C Condominium or cooperative
                                                                         C   Manufactured or mobile home
                                                                                                                              Current value of the       Current value of the
      Greensburg                          PA       15601-0000            • Land                                               entire property?           portion you own?
      City                                State            ZIP Code      C   investment property                                    $1 65,000.00                 SI 65,000.00
                                                                         C Timeshare                                          Describe the nature of your ownership Interest
                                                                         C   Other                                            (such as fee simple, tenancy by the entireties, or
                                                                      Who has an Interest In the property? Check one          a life estate), if known.
                                                                       C Debtor 1 only                                        Entireties
      Westmoreland                                                       C   Debtor 2 only
      County                                                             C Debtor 1 and Debtor 2 only
                                                                                                                              Check If this Is community property
                                                                         I At least one of the debtors and another            see inslnJctionsl
                                                                       Other Information you wish to add about this item, such as local
                                                                       property Identification number:
                                                                      Tax Id. No. 57-18-00-0-050; 33 acres with barn; contiguous to house


      If you own or have more than one list here:
1.3                                                                   What Is the property? Chsca: thai appy
      I Angel Lane                                                           S:ngle.fam.ly home                               Do not deduct secured claims or exeT,pttons Put
      SI’eet euoress,   if   ava. ace or other cesaioten                                                                      the amount of any secured claims on Schedule D:
                                                                         C   Duplex or muti-unit building
                                                                                                                              Creditors Who Have Claims Secured by Property
                                                                             Condomintum or cooperative

                                                                         C Manufactured or mob.le home
                                                                                                                              Current value of the       current value of the
      Crosby                              PA       16724-0000            •   Land                                             entire property?           portion you own?
      city                                State            ZIP Code      C Investment property                                        $30,000.00                  $30,000.00
                                                                         C Timeshare
                                                                                                                              Describe the nature of your ownership interest
                                                                         C Other                                              (such as fee simple, tenancy by the entireties, or
                                                                      Who has an Interest In the property? Cr,ec ore          a life estate), if known.
                                                                       C Debtor 1 only                                        Entireties
      McKean                                                             C   Debtor 2 only
      County                                                             C Debtor 1 and Debtor 2 only
                                                                         •   At least one of the debtors and another          C Check    If this Is community property
                                                                                                                                (ace i’s:njd one)
                                                                       Other InformatIon you wish to add about this item, such as local
                                                                       property Identincatlon number




Official Form 1O6NB                                                       Schedule NB: Property                                                                             page 2
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                                                    -
                                                                                                                                                                Best case Bankruptcy
          Case 21-21632-JAD                                  Doc 12             Filed 08/13/21 Entered 08/13/21 11:45:23                                         Desc Main
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 Debtor 1        Michael T. Cioffi                                                                                              Case number (ifknown)          2121632

       If you own or have more than one, list here:
 1,4                                                                            What is the property? Check eli that apply
       540 West Branch Road                                                            Single.family home                             Do not deduct secured claims or exemptions. Put
                                                                                  •
       Street address, it availabte, or other description                                                                             the amount of any secured claims on ScheduleD:
                                                                                       Duplex or mutti.unit building
                                                                                  D                                                   creditors Who Have claims Secured by Property.
                                                                                       Condominium Dr cooperative


                                                                                  Q    Manufactured or mobile home
                                                                                                                                      Current value of the         Current value of the
       Smethport                         PA         16749-0000                    Q    Land                                           entire property?             portion you own?
       City                              State              ztp code              D    investment prcperty                                  $1 25,000.00                   $1 25,qqo.oo
                                                                                  0    Timeshare
                                                                                                                                      Describe the nature of your owner,hip interest
                                                                                  0    Other                                          (such as fee simple, tenancy by the entireties, or
                                                                               Who has an interest In the property? Chedci,e          a life estate), If known.
                                                                                  0    Debtor 1 cnly                                  Entireties
       McKean                                                                     0    Debtor 2 only
       County                                                                     C    Debtor I and Debtor 2 only
                                                                                                                                          Check if this Is community property
                                                                                  •    At east one of the debtors and anotner             Ieee iis:rtcior.s)
                                                                                Other InformatIon you wtsh to add about this Item, such as local
                                                                                property tdentlr,catton number:
                                                                                House +       100   acres



       If you own or have more than one, list here:
 1.5                                                                           What is the property? check aM that apply
       West Branch Road                                                           C    Single-family home                             Do not deduct secured claims or exemptions. Put
       Street address, ii available, or other description                                                                             the amount of any secured claims on Schedule C’
                                                                                  Q    Duplex or multi-unit building
                                                                                                                                      Creditors Who Have Claims Secured by Property
                                                                                       Condominium or cooperative


                                                                                  Q    Manufactured or mobile home
                                                                                                                                      Current value of the         Current value of the
       Smethport                         PA         16749-0000                    •    Land                                           entire property?             portion you own?
       City                              State              ZIP Code                   Investment property                                   $100,000.00                   $100,000.00
                                                                                  O Timeshare                                         Describe the nature of your ownership interest
                                                                                  C Other                                             (such as fee simple, tenancy by the entireties, or
                                                                                Who has an Interest in the property? Check one        a life estate), if known.
                                                                                  C    Debtor 1 only                                  Entireties
       McKean                                                                     C    Debtor 2 only
       County                                                                     C    Debtor 1 and Debtor 2 only
                                                                                                                                          Check if this is community property
                                                                                  •    At east one of the debtors and another             see nstniaionsl
                                                                                Other Information you wish to add about this item, such as local
                                                                                property IdentificatIon number:
                                                                                100   acres + trailer from        1971


 2. Add the dollar value of the portion you own for all of your entries from Part 1, including any entries for
    pages you have attached for Part 1. Write that number here                                                                                                           5957,208.00


IFThI Describe Your Vehicles

Do you own, lease, or have legal or equitable Interest in any vehicles, whether they are registered or not? Include any vehicles you own that
someone else drives,if you ease a vehicle, also report it on Schedule G: Executory Contracts and Unexpired Leases.




Official Form 1O6NB                                                                Schedule NO: Property                                                                             page   3
Software Copyright Ic) 1996.2021 Best case, LLC      -   WMV   beatcase corn                                                                                              Best Case Bankruptcy
         Case 21-21632-JAD                         Doc 12           Filed 08/13/21 Entered 08/13/21 11:45:23                                  Desc Main
                                                                   Document      Page 6 of 51
 Debtor 1         Michael T. Cioffi                                                                            Case number (lfknown)     21-21632
3. Cars, vans, trucks, tractors, sport utility vehicles, motorcycles


   • Yes


  3.1    Make:       Ford                                     Who has an Interest in the property? check one          Do not deduct secured claims or exemptions. Put
                                                                                                                      the amount af any secured claims on ScheduleD:
         Model:      Taurus                                   D    Debtor 1 only                                      Creditors Who Have Claims Secured by Pmpefly
         Year:      _?017                                     D    Debtor 2 only                                      Current value of the      Current value of the
         Approximate mileage                145,000           D    Debtor land Debtor 2 only                          entire property?          portion you own?
         Other information:                                   • At least one of the debtors and another


                                                              D Check If this Is community property                              $10,000.00               $10,000.00
                                                                   (see instructionsi



4. Watercraft, aircraft, motor homes, ATVs and other recreational vehicles, other vehicles, and accessories
   Examples: Boats, trailers, motors, personal wateroraft, fishing vessels, snowmobiles, motorcycle accessories

   • No
   C Yes


 5 Add the dollar value of the portion you own for all of your entries from Part 2, including any entries for
   pages you have attached for Part 2. Write that number here                                                                                         $10,000.00


IFt1t Describe Your Personal and Household Items
 Do you own or have any legal or equitable Interest In any of the following items?                                                            Current value of the
                                                                                                                                              portion you own?
                                                                                                                                              Do not deduct secured
                                                                                                                                              claims or exemptions.
6. Household goods and furnishings
   Examples. Major appliances, furniture, linens, china, kitchenware
   CNo
   • Yes. Describe

                                  I Household goods and furnishings (list available upon request)                            I                              $4,000.00


7. Electronics
   Examples: Televisions and radios; audio, video, stereo, and digital equipment; computers, printers, scanners; music collections; electronic devices
               including cell phones, cameras, media players, games
   CNo
   • Yes, Describe

                                    5 Tvs
                                    Computer
                                    Surround Sound
                                    printer/scanner                                                                                                            $775.00


8. Collectibles of value
   Examples: Antiques and figurines; paintings, prints, or other artwork; books, pictures, or other art objects; stamp, coin, or baseball card collections;
               other collections, memorabilia, collectibles
   • No
   DYes. Describe....

9. Equipment for sports and hobbies
   Examples: Sports, photographic, exercise, and other hobby equipment; bicycles, pool tables, golf clubs, skis; canoes and kayaks; carpentry tools;
             musical instruments
   DNo
   • Yes. Describe


Official Form 1 O6NB                                                     Schedute NB: Property                                                                    page 4
software copyright (ci 19962O21 Best case, LLC www bestease corn
                                             .                                                                                                         Best Case Bankruptcy
          Case 21-21632-JAD                             Doc 12               Filed 08/13/21 Entered 08/13/21 11:45:23             Desc Main
                                                                            Document      Page 7 of 51
 Debtor I       Michael T. Cioffi                                                                     Case number (if known)   21 -21632


                                    I Golf Clubs                                                                   I                               $500.00


10. Firearms
     Examples: Pistols, rifles, shotguns, ammunition, and related equipment
   CNo
   • Yes. Describe

                                     Rifle 222 Remington
                                     Shotgun 410 Pardner
                                     Rifle 223 Remington                                                                                           $250.00


11. Clothes
     Examples: Everyday clothes, furs, leather coats, designer wear, shoes, accessories
    CNo
    • Yes, Describe

                                    I Everyday Clothes                                                                                             $250.00


12. Jewelry
     Examples: Everyday jewelry, costume jewelry, engagement rings, wedding rings, heirloom jewelry, watches, gems, gold, silver
    CNo
    • Yes. Describe

                                    iWedding Ring                                                                      I                           $100.00


13. Non-farm animals
     Examples: Dogs, cats, birds, horses
   DN0
    • Yes. Describe

                                    Ildog&lcat                                                                         I                              $0.00


14. Any other personal and household items you did not already list, including any health aids you did not list
    • No
   C Yes. Give specific information


 15. Add the dollar value of all of your entries from Part 3, Including any entries for pages you have attached                             S 875 00
     for Pan 3. Write that number here


tnte Describe Your Financial Assets
 Do you own or have any legal or equitable Interest in any of the following?                                                      Current value of the
                                                                                                                                  portion you own?
                                                                                                                                  Do not deduct secured
                                                                                                                                  claims or exemptions.

16. Cash
     Examples: Money you have in your wallet, in your home, in a safe deposit box, and on hand when you file your petition
    •No
    C Yes

17. Deposits of money
    Examples: Checking, savings, or other financial accounts; certificates of deposit; shares in credit unions, brokerage houses, and other similar
               institutions. If you have multiple accounts with the same institution, list each.
   CNo
   B Yes                                                          Institution name:



Official Form iDeA/B                                                          Schedule NB: Property                                                    page 5
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          Case 21-21632-JAD                              Doc 12          Filed 08/13/21 Entered 08/13/21 11:45:23                 Desc Main
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 Debtor 1        Michael T. Cioffi                                                                 Case number (i/known)   21-21632


                                        171.         Joint Checking           Dollar                                                           $2,559.82



                                        17.2.        Joint Savings            Dollar Bank                                                       $7,904.52


18. Bonds, mutual funds, or publicly traded stocks
    Examples: Bond funds. investment accounts with brokerage firms, money market accounts
   • No
   DYes                            Institution or issuer name:

19. Non-publicly traded stock and Interests in Incorporated and unincorporated businesses, Including an Interest in an LLC, partnership, and
    joint venture
   CNo
   • Yes. Give specific information about them
                                 Name of entity:                                          % of ownership:

                                              EnTech Energy Services, LLC                                 7.47      %                                $0.00


2G. Government and corporate bonds and other negotiable and non-negotiable instruments
     Negotiable instruments include personal checks, cashiers’ checks, promissory notes, and money orders.
     Non-negotiable instruments are those you cannot transfer to someone by signing or delivering them,
   •No
    C Yes. Give specific information about them
                                  Issuer name:

21. Retirement or pension accounts
    Examples: Interests in IRA, ERISA, Keogh, 401(k). 403(b), thrift savings accounts, or other pension or profit-sharing plans
   CNo
   • Yes. List each account separately.
                              Type of account:                 Institution name:

                                        401K                                  Lincoln Financial                                               518,151.00


22. Security deposits and prepayments
    Your share of all unused deposits you have made so that you may continue service or use from a company
    Examples: Agreements with landlords, prepaid rent, public utilities (electric, gas. water), telecommunications companies, or others
   • No
   D Yes......................                                Institution name or individual:

23. Annuities (A contract for a periodic payment of money to you, either for life or for a number of years)
    • No
   C Yes.,,.,,...,...    Issuer name and description.

24. Interests in an education IRA, in an account in a qualified ABLE program, or under a qualified state tuition program.
    26 U.S.C. § 530(b)(l), 529A(b), and 529(b)(1).
    • No
    C Yes.,,,.........    Institution name and description. Separately file the records of any interests.11 U.S.C. § 521(c):

25. Trusts, equitable or future interests in property (other than anything listed Inline 1), and rights or powers exercisable for your benefit
   S No
   C Yes. Give specific information about them...

26. Patents, copyrights, trademarks, trade secrets, and other Inteltectual property
    Examples: Internet domain names, websites, proceeds from royalties and licensing agreements
   • No
   C Yes. Give specific information about them...



Official Form 1 O6NB                                                      Schedule NB: Property                                                       page 6
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          Case 21-21632-JAD                          Doc 12            Filed 08/13/21 Entered 08/13/21 11:45:23                      Desc Main
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 Debtor 1        Michael T. Cioffi                                                                       Case number (if known)   21-21632
27. LIcenses, franchises, and other general intangibles
    Examples: Building permits, exclusive licenses, cooperative association holdings, liquor licenses, professional licenses
   • No
     D Yes. Give specific information about them...
 Money or property owed to you?                                                                                                      Current value of the
                                                                                                                                     portion you own?
                                                                                                                                     Do not deduct secured
                                                                                                                                     claims or exemptions.

28. Tax refunds owed to you
   • No
     D Yes. Give specific information about them, including whether you already filed the returns and the tax years


29. FamIly support
     Examples: Past due or lump sum alimony. spousal support, child support, maintenance, divorce settlement, property settlement
   • No
    C Yes. Give specific information

3D. Qther amounts someone owes you
    Examples: Unpaid wages, disability insurance payments, disability benefits, sick pay, vacation pay, workers’ compensation. Social Security
              benefits; unpaid loans you made to someone else
   • No
    C Yes. Give specific information.
31. Interests in insurance policies
     Examples: Health, disability, or life insurance; health savings account (HSA); credit, homeowner’s, or renter’s insurance
   C No
    • Yes. Name the insurance company of each policy and tist its value,
                               Company name:                                                    Beneficiary:                          Surrender or refund
                                                                                                                                      value:

                                          term life insurance; health insurance;
                                           homeowners          insurance;   no   cash   value
                                                                                                                                                         $0.00


32. Any interest in property that is due you from someone who has died
     If you are the beneficiary of a living trust, expect proceeds from a life insurance policy, or are currently entitled to receive property because
    someone has died,
    • No
    C Yes. Give specific information.

33. Claims against third parties, whether or not you have filed a lawsuit or made a demand for payment
    Examples: Accidents, employment disputes, insurance claims, or rights to sue
    •No
    C Yes. Describe each claim
34. Other contingent and unliquidated claims of every nature, including counterclaims of the debtor and rights to set off claims
    • No
    C Yes. Describe each claim
35. Any financial assets you did not already list
   • No
    C Yes. Give specific information..

 38. Add the dollar value of all of your entries from Part 4, including any entries for pages you have attached
     for Part 4. Write that number here                                                                                                       $2861 5.34


inta Describe Any BusIness-Related Property You Own or Have an Interest In. List any real estate in Part I.

37, Do you own or have any legal or equitable interest in any business-related property?
   • No. Go to Part 6.
Official Form 1O6A/B                                                    Schedule NB: Property                                                             page 7
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                                               -                                                                                              Besi case Bankruptcy
          Case 21-21632-JAD                               Doc 12               Filed 08/13/21 Entered 08/13/21 11:45:23              Desc Main
                                                                              Document     Page 10 of 51
 Debtor 1       Michael T. Cioffi                                                                        Case number (if known)   21-21632
   C Yes. Go to line 38,


IFTi4 Describe Any Farm- and Commercial Fishing-Related Property You Own or Have an Interest In.
      II you own or have an interest in farmland, list it in Part 1,

46. Do you own or have any legal or equitable interest in any farm- or commercial fishing-related property?
    C No. Go to Part 7.
       • Yes, Go to line 47.
                                                                                                                                     Current value of the
                                                                                                                                     portion you own?
                                                                                                                                     Do not deduct secured
                                                                                                                                     claims or exemptions.

47. Farm animals
    Examples: Livestock, poultry, farm-raised fish
    • No
    C Yes

48. Crops—either growing or harvested
    • No
    C Yes. Give specific information....

49. Farm and fishing equipment, implements, machinery, fixtures, and tools of trade
   CNO
    • Yes



                                   2009 JO 4320 Tractor; 2012 JD x765 Tractor; 2008 JD Gator UW;
                                   Utility Tractor; Frontier Finish Mower                                                                       $33,950M0


SD. Farm and fishing supplies, chemicals, and feed
    • No
    C Yes

51. Any farm- and commercial fishing-related property you did not already list
    • No
    C Yes. Give specific information


 52. Add the dollar value of all of your entries from Part 6, including any entries for pages you have attached
     for PartS. Write that number here                                                                                                       $33,950.00


inta Describe All Property You Own or Have an Interest In That You Did Not List Above

53. Do you have other property of any kind you did not already list?
    Examples: Season tickets, country club membership
    • No
    C Yes. Give specific information

 54.   Add the dollar value of all of your entries from Part 7. Write that number here                                                             $0.00




Official Form 106N8                                                              Schedule NB: Property                                                  page 8
Software copyright (c) 1996.2021 Best Case, LLC   .   VA’AQ   bestcase corn                                                                  Best Case Bankruptcy
          Case 21-21632-JAD                        Doc 12           Filed 08/13/21 Entered 08/13/21 11:45:23                          Desc Main
                                                                   Document     Page 11 of 51
 Debtor 1       Michael T. Cioffi                                                                       Case number (if known)   21-21632
1fli1         List the Totals of Each Part of this Form

55.     Part 1; Total real estate line 2                                                                                                     $957,208.00
56.     Part 2: Total vehicles, lineS                                                     $10000.00
57.     Part 3: Total personal and household items, line IS                                $5875.00
 58.    Part 4: Total financial assets, line 36                                           $2861 5.34
 59.    PartS: Total business-related property, line 45                                        $0.00
 60.    PartS: Total farm- and fishing-related property, line 52                          $33,950.00
61.     Part?: Total other property not lIsted, line 54                            +           $0.00

62. Total personal property. Add lines 56 through 61...                                   $78,440.34   Copy personal property total             578440.34

63.     Total of all property on Schedule AIB. Add line 55           +   line 62                                                        $1,035,648.34




Official Form 1O6NB                                                      Schedule NB: Property                                                          page 9
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                                             .                                                                                              Best Case Bankruptcy
              Case 21-21632-JAD                      Doc 12            Filed 08/13/21 Entered 08/13/21 11:45:23                               Desc Main
                                                                      Document     Page 12 of 51
 Fill in this Information to identify your case:
 Debtor 1                 Michael T. Cioffi
                          First Name                         Middle Name                     Last Name   -




 Debtor 2
  Spouse if. firing)      First Name                         Middle Name                     Last Name

 United States Bankruptcy Court for the:               WESTERN DISTRiCT OF PENNSYLVANIA

 Case number           21 -21632
 (if known)
                                                                                                                                         C Check if this is an
                                                                                                                                           amended filing

Official Form 106C
Schedule C: The Property You Claim as Exempt                                                                                                                       4119

Be as complete and accurate as possible. if two married people are filing together, both are equally responsible for supplying correct information. Using
the property you Listed on Schedule NB: Property (Official Form 1 DSNB) as your source, list the property that you claim as exempt. If more space is
needed, fill out and attach to this page as many copies of Part 2: Additional Page as necessary. On the top of any additional pages, write your name and
case number (if known).
For each item of property you claim as exempt, you must specify the amount of the exemption you claim. One way of doing so is to state a
specific dollar amount as exempt Alternatively, you may claim the full fair market value of the property being exempted up to the amount of
any applicable statutory limit. Some exemptions—such as those for health aids, rights to receive certain benefits, and tax-exempt retirement
funds—may be unlimited in dollar amount However, if you claim an exemption of 100% of faIr market value under a law that limits the
exemption to a particular dollar amount and the value of the property Is determined to exceed that amount, your exemption would be limited
to the applicable statutory amount.
ITl Identify the Property You Claim as Exempt
 1. Which set of exemptions are you claiming? Check one only, even if your spouse is filing with you.
      • You are claiming state and federal nonbankruptcy exemptions.                   11 U.S.C.   § 522(b)(3)
      C You are claiming federal exemptions.              11 U.S.C.    § 522(b)(2)
 2. For any property you list on Schedule NB that you claim as exempt, fill in the information below.
      Brief description of the property and line on             current value of the     Amount of the exemption you claim        Specific laws that allow exemption
      Schedule NB that lists this property                      portion you own
                                                                copy the value from      Check only one box for each exemption.
                                                                Schedule NB
      2842 Greene Drive Greensburg, PA                                 $537,208.00       C                                        Property owned by Debtor
      15601-8972 Westmoreiand County                                                                                              and his spouse as joint
      Tax Id. No. 57-18-00-0-144                                                         •     100% of fair market value, up to   tenants by the entireties;
      Line from Schedule NB: 1.1                                                               any applicable statutory limit     Under PA law, all such
                                                                                                                                  property is exempt from
                                                                                                                                  creditors of only the Debtor

      2860 Greene Drive Greensburg, PA                                 $165,000.00                                                Property owned by Debtor
      15601 Westmoreiand county                                                                                                   and his spouse as joint
      Tax Id. No. 57-1 8-00-0-050; 33 acres                                              •     1OD% of fair market value, up to   tenants by the entireties;
      with barn; contiguous to house                                                           any applicable statutory limit     Under PA law, all such
      Line from Schedule NB: 1.2                                                                                                  property is exempt from
                                                                                                                                  creditors of only the Debtor

      I Angel Lane Crosby, PA 16724                                     $30,000.00                                                Property owned by Debtor
      McKean County                                                                                                               and his spouse as joint
      Line from Schedule NB: 1.3                                                         •     1CD% of fair market value, up to   tenants by the entireties;
                                                                                               any applicable statutory limit     Under PA law, all such
                                                                                                                                  property is exempt from
                                                                                                                                  creditors of only the Debtor




Official Form 1 06C                                      Schedule C: The Property You Claim as Exempt                                                        page 1 of 3
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                                               .                                                                                                       Best case Bankruptcy
             Case 21-21632-JAD                          Doc 12           Filed 08/13/21 Entered 08/13/21 11:45:23                                Desc Main
                                                                        Document     Page 13 of 51
  Debtor I     Michael T. Cioffi                                                                             Case number (if known)     21-21632
       Brief description of the property and line on               Current value of the   Amount of the exemption you claim           Specific laws that allow exemption
       Schedule A/B that lists this property                       portion you own
                                                                   Copy the value from    Check only one box for each exemption.
                                                                   Schedule 48
       540 West Branch Road Smethport,                                   $125,000.00      Q                                           Property owned by Debtor
       PA 16749 McKean County                                                                                                         and his spouse as joint
       House + 100 acres                                                                  •    100% of fair market value, up to       tenants by the entireties;
       Line from Schedule NB: 1.4                                                              any applicable statutory limit         Under PA law, all such
                                                                                                                                      property is exempt from
                                                                                                                                      creditors of only the Debtor

      West Branch Road Smethport, PA                                     $100,000.00      c                                           Property owned by Debtor
      16749 McKean County                                                                                                             and his spouse as joint
      100 acres + trailer from 1 971                                                      •    100% of fair market value, up to       tenants by the entireties;
      Line from Schedule NB: 1.5                                                               any applicable statutory limit         Under PA law, all such
                                                                                                                                      property is exempt from
                                                                                                                                      creditors of only the Debtor

       2017 Ford Taurus 145,000 miles                                     slo,ooo.oo      Q                                           Property owned by Debtor
       Line from Schedule A/B: 3.1                                                                                                    and his spouse as joint
                                                                                          •    100% of fair market value, up to       tenants by the entireties;
                                                                                               any applicable statutory limit         Under PA law, all such
                                                                                                                                      property is exempt from
                                                                                                                                      creditors of only the Debtor

      Household goods and furnishings                                      $4,000.00                                                  Property owned by Debtor
      (list available upon request)                                                                                                   and his spouse as joint
      Line from Schedule A’S 6.1                                                          •    100% of fair market value, up to       tenants by the entireties;
                                                                                               any applicable statutory limit         Under PA law, all such
                                                                                                                                      property is exempt from
                                                                                                                                      creditors of only the Debtor

      S Tvs                                                                  $775.00      Q                                           Property owned by Debtor
      Computer                                                                                                                        and his spouse as joint
      Surround Sound                                                                      •    100% of fair market value, up to       tenants by the entireties;
      printerlscanner                                                                          any applicable statutory limit         Under PA law, all such
      Line from Schedule NB: 7.1                                                                                                      property is exempt from
                                                                                                                                      creditors of only the Debtor

      Rifle 222 Remington                                                    $250.00                                                  Property owned by Debtor
      Shotgun 410 Pardner                                                                                                             and his spouse as joint
      Rifle 223 Remington                                                                 •    100% of fair market value, uplo        tenants by the entireties;
      Line from Schedule A/B: 1 0.1                                                            any applicable statutory limit         Under PA law, all such
                                                                                                                                      property is exempt from
                                                                                                                                      creditors of only the Debtor

      I dog & I cat                                                            $0.00      c                                           Property owned by Debtor
      Line from Schedule NB: 13.1                                                                                                     and his spouse as joint
                                                                                          S    100% of fair market value, up to       tenants by the entireties;
                                                                                               any applicable statutory limit         Under PA law, all such
                                                                                                                                      property is exempt from
                                                                                                                                      creditors of only the Debtor

      Joint Checking: Dollar                                              $2,559.82       c                                           Property owned by Debtor
      Line from Schedule A/B: 17.1                                                                                                    and his spouse as joint
                                                                                          •   100% of fair market value, up to        tenants by the entireties;
                                                                                              any applicable statutory limit          Under PA law, all such
                                                                                                                                      property is exempt from
                                                                                                                                      creditors of only the Debtor




Official Form 106C                                         Schedule C: The Property You Claim as Exempt                                                         page 2 of 3
Software Copy’ight (c)   1996’2021 Best Case! LLC -vnvw bestcase corn                                                                                     Best case Bankruptcy
            Case 21-21632-JAD                       Doc 12            Filed 08/13/21 Entered 08/13/21 11:45:23                               Desc Main
                                                                     Document     Page 14 of 51
 Debtor 1    Michael T. Cioffi                                                                           Case number (if known)     21-21632
      Brief description of the property and line on            Current value of the   Amount of the exemption you claim           Specific laws that allow exemption
      Schedule A/B that lists this property                    portion you own
                                                               Copy the value from    Check only one box for each exemption.
                                                               Schedule NB
     Joint Savings: Dollar Bank                                         $7904.62                                                  Property owned by Debtor
     Line from Schedule NB: 17.2                                                                                                  and his spouse as joint
                                                                                      •    100% of fair market value, up to       tenants by the entireties;
                                                                                           any applicable statutory limit         Under PA law, all such
                                                                                                                                  property is exempt from
                                                                                                                                  creditors of only the Debtor

     401K: Lincoln Financial                                           $18,151.00                                                 42 PA C.S.   § 8124(b)(1)(ix)
     Line from Schedule NB: 21.1
                                                                                      •    100% of fair market value, up to
                                                                                           any applicable statutory limit

     2009 JD      4320 Tractor; 2012 JD x785                           $33,950.00                                                 Property owned by Debtor
     Tractor;     2008 JD Gator UTV; Utility                                                                                      and his spouse as joint
     Tractor;     Frontier Finish Mower                                               •    100% of fair market value, up to       tenants by the entireties;
     Line from    Schedule NB: 49.1                                                        any applicable statutory limit         Under PA law, all such
                                                                                                                                  property is exempt from
                                                                                                                                  creditors of only the Debtor

 3. Are you claiming a homestead exemption of more than $170,350?
    (Subject to adjustment on 4/01122 and every 3 years after that for cases filed on or after the date of adjustment.)
    • No
      Q     Yes. Did you acquire the property covered by the exemption within 1,215 days before you filed this case?
            D       No
            D      Yes




Official Form 106C                                      Schedule C: The Property You Claim as Exempt                                                         page 3 of 3
Sottware Copyright (ci 1 99e•2D21 Best Case, LLC www boatcaso corn
                                               -                                                                                                       Boat Case Bankruptcy
               Case 21-21632-JAD                                  Doc 12              Filed 08/13/21 Entered 08/13/21 11:45:23                                   Desc Main
                                                                                     Document     Page 15 of 51
      Fill In this Information to Identify your case:
      Debtor 1                      Michael T. Cioffi
                                    First Na’ie                            Middle Name                         Last Name
     Debtor 2
    (Spouse if, filing)            First Name                              Middle Name                         Last Name

    United States Bankruptcy Court for the:                          WESTERN DISTRICT OF PENNSYLVANIA

    Case number                21-21632
    l’ known)
                                                                                                                                                             0   Check it this is an
                                                                                                                                                                 amended filing

   Official Form 106D
   Schedule D: Creditors Who Have Claims Secured by Property
                                                                                                                                                                 12115
   Be as complete and accurate as possible. If two married people are filing together,
                                                                                           both  are equally responsible for supplying correct information. if more space
   is needed copy the Additional Page, f iii it out, number the entries, and attach
                                                                                    it to this form, On the top of any additional pages, write your name and case
   number (if known).
   I. Do any credItors have claims secured by                   your property?
         0 No. Check this box and submit this form to the court with your other schedules. You
                                                                                               have nothing else to report on this form.
         • Yes. Fill in all of the information below.
  j,jstAflSecuredClms
   2. List all secured claims. if a creditor has more tnan one secured claim, list the        .   .        .
                                                                                                                           Column A              Column B                 Column C
                                                                                       creditor separately
   for each claim If more than one creditor has a parlic4jlar aim. Lst the othercreditor
                                                                                          s in Part 2. As                  Amountof claim        Value of collateral     Unsecured
   much as possible, list the claims in arphabetical order according to the creditor’s name.
                                                                                                                           Do not deduct the     that supports this      portion
                                                                                                                           value of collateral   claim                   if any
   2.1
             Clarion Federal Credit
         .   Union                                              Describe the property that secures the claim:                  $12,761.00              $10,000.00             $2,761.00
             Cred,mo”s fire
                                                                2017 Ford Taurus 145,000 miles


             144 Holiday Inn Road                               As of the date you file, the claim Is: Cf e:k    al flat
                                                                app y
             Clarion, PA 16214                                  0 Contingent
             Number, Street,   City. State & Zip Code           • unliquidated
                                                                0 Disputed
  Who owes the debt? Check one                                  Nature of lien. Check all that apply.
   oDebtor 1 only                                               I An agreement you made (such as mortgage or secured
  0 Debtor 2 only                                                    car loan)
  0 Debtor land Debtor 2 only                                   0 Statutory lien (such as tax lien, mechanic’s lien)
  • At least one of the debtors and arother                     0 Judgment len from a lawsuit
  0    Check if this claim relates to a                         0 Otier (including a right to offset)
       community debt

  Date debt was incurred                                                Last    4   digIts of account number




Official Form 1OSD                                           Schedule D: Creditors Who Have Claims Secured by Property
                                                                                                                                                                             page 1 of 2
Scttware cooyr.giit (a) l5.2C2 Beam Ceso. LLC           -   w’sw cesicase con
                                                                                                                                                                       Oesl Case Oankrjpicy
         Case 21-21632-JAD                              Doc 12           Filed 08/13/21 Entered 08/13/21 11:45:23                                       Desc Main
                                                                        Document     Page 16 of 51
 Debtor 1     Michael T. Cioffi                                                                                     Case number (if known)   21-21632
              First Name                     Middle Name                      Lest Name


        Eldorton Bank                                  Describe the property that secures the claIm:                        $92,000.00          $165,000.00              $0.00
        Creditors Name                                 2860 Greene Drive Greensburg, PA
                                                       15601 Westmoreland County
                                                       Tax Id. Na. 57-18-00-0-050; 33 acres
                                                       with barn; contiguous to house
                                                       As olthe date you file, the claIm Is; Cectc ar that
                                                                                                                P
        143 North Main Street                          apply
        Elderton, PA 15736                             C   Contingent
        Number, St’eot, City Sta;e &   Zp   Code       • Unliquida:ed
                                                       0 Disputed
 Who owes the debt? Check one                          Nature of lien. Check all that app!y
 C   Debtor I only                                     • An agreement you made (such as mortgage or secured
 C Debto 2 cnly                                           car loan)
 o Debtor 1 and Oebtor 2 ony                           0 Statutcry hen (such as lax lien, mechanic’s lien)
 • At east one of the debtors and another              0 Judgment len from a awsuit
 0 Check if thIs claim relates to a                    C   Other (including a right o offset)
    community debt

 Date debt was Incurred                                        Last 4 digIts of account number


       S&T Bank                                        Describe the property that secures the claim:                      $292,354.64           $537,205.00              $0.00
       Creditor’s Name                                 2842 Greene Drive Greensburg, PA
                                                       15601-8972 Westmoreland County
                                                       Tax Id. No. 57-18-00-0-144
                                                       As of the date you file, the claim is: Check ati that
        P0 Box 190                                     apply
        Indiana, PA 15701                              C   Contingent
       Number, Street, City, State & Zip Code          • Unliquidated
                                                       0 Disputed
 Who owes the debt? Check one,                         Nature of lien. Check all that apply.
 C   Debtor 1 only                                     • An agreement you made (such as mortgage or secured
 C Debtor 2 only                                          car loan)
 O   Debtor I and Debtor 2 only                        C   Statutory lien (such as tax lien, mechanic’s lien)
 • At least one of the debtors and another             0 Judgment lien from a lawsuit
 0 Check if this claim relates to a                    C Other (including   a right to offset)
    community debt

 Date debt was Incurred                                        Last 4 digits of account number



   Add the dollar value of your entries in Column A on this page. Write that number here:                                         $397,115.64
   if this Is the last page of your form, add the dollar value totals from all pages,
   Write that number here:                                                                                                        $397 115 64

IliW List Others to Be Notified for a Debt That You Already Listed
 Use this page only If you have others to be notified about your bankruptcy for a debt that you already listed in Part I. For example, if a collection agency is
 trying to collect from you for a debt you owe to someone else, list the creditor in Part 1, and then list the collection agency here. Similarly, if you have more
 than one creditor for any of the debts that you listed in Pad 1, list the additional creditors here, If you do not have additional persons to be notified for any
 debts In Part 1, do not fill out or submit this page.




Officiai Form 106D                      Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                                page 2 of 2

Scftware Copyright (c) 1996-2021 Best case, LLC wnv bestcase.ccm
                                                   -                                                                                                          Best Case Bankruptcy
            Case 21-21632-JAD                            Doc 12           Filed 08/13/21 Entered 08/13/21 11:45:23                                      Desc Main
                                                                         Document     Page 17 of 51
 Fill In this Infonnallon to Identify your case:
 Deblor 1                      Michael T. Cioffi
                               First Name               ——    —   Middle Name                      Last Name

 Debtor 2
 iSpoae if f i-gj              F,rst NaTe                         M ca Name                        Last Name

 United States Bankruptcy Court for the:                   WESTERN DISTRICT OF PENNSYLVANIA

 Case number              21-21632
  fkown}
                                                                                                                                           -     D Check if this is an
                                                                                                                                                        amended filing

Official Form 106E/F
Schedule ElF: Creditors Who Have Unsecured Claims                                                                                                                12/15
Be as complete and accurate as possible. Use Part I for creditors with PRIORITY claims and Part 2 for creditors with NONPRIORITY claims. List the other party to
any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule NB: Property (Official Form IOBNB) and on
Schedule G: Executory Contracts and Unexpired Leases (Official Form baG). Do not include any creditors with partially secured claims that are listed in
Schedule D: Creditors Who Have Claims Secured by Property. If more space Is needed, copy the Part you need, fill It out, number the entries in the boxes on the
left. Attach the Continuation Page to this page. If you have no information to report in a Part, do not file that Part. On the top of any additional pages, write your
name and case number (if known).
Ifl              List All of Your PRIORITY Unsecured Claims
 1.   Do any creditors have priority unsecured claims against you?
      • No. Go to Part 2.
      C Yes.

LFmwp List All of Your NONPRIORITY Unsecured Claims
 3.   Do any creditors have nonpriority unsecured claims againstyou?
      C No. You have nothing to report in mis part. Submit ths form to the court with your other scheduies.
      • Yes.

 4.   List all of your nonprlority unsecured claims in the alphabetical order of the creditor who holds each ciaim. ira creditor has more than one nonpriority
      unsecurec c!am. list the creditor separatey for each daim. For each claim hsted. identifywhat type of dam it is. Do not 1st claims aireacy nciuded in Part 1. i(more
      than one credttor hc’ds a particular dam list tn e other creditors in Part 2 if you have wore than tnree ncnphority cnsecured c!ams ft out the ContnuaUon Page of
      Pan 2
                                                                                                                                                          Total claim

             Herc Rentals                                                 Last 4 dIgits of account number                                                          $10,144.35
             Nonpriority Creditor’s Name
             do Andrew 13. Shannon                                        When was the debt incurred?
             RoNz Leonard Mulvihill
             500 Grant Street Suite 2300
             Pittsburgh, PA 15219
             Number Street City State Zip Code                            As of the date you file, the claim is: Check ati that appty
             Who incurred the debt? Check one.
             • Debtor 1 only                                              C Contingent
             O   Debtor 2 only                                                  Unliquidated
             C Debtor 1      and Debtor 2 only                            C Disputed
             C At least one of the debtors and another                    Type of NONPRiORITY unsecured claim:

             C Check if this claim is for a community                     C Student loans
             debt                                                         C Obigattons artsng out ci a separaon agreement or divorce that you did not
             Is the claim subject to offset?                              report as phohty ciams
             • No                                                         C Debts to pension or proEtshar:ng p!ans, ard other sim.i:ar debts
             C Yes                                                        • Other. Specity Business Debt




Official Form 106 ElF                                       Schedule ElF: Creditors Who Have Unsecured Claims                                                            Page I of 4
Software   Copyright   Ic) 1996-2021 Best Case, LLC -www.besicase corn                                            20346                                         Beat Case Benkruptcy
            Case 21-21632-JAD                                Doc 12           Filed 08/13/21 Entered 08/13/21 11:45:23                                            Desc Main
                                                                             Document     Page 18 of 51
  Debtor 1       Michael T. Cioffi                                                                                 Case number (if known)             21-21 632

             LVNV Funding, LLC                                                Last 4 digIts of account number                                                              $6,691.00
             Nonpnoriiy Credi:or’s Name
             PC Box 10497                                                     When was the debt incurred?
             Greenville, SC 29603
             Number Street City State Zip Code                                As of the date you file, the claim is: Check all that apply
             Who incurred the debt? Cleck one
             • Debtor I only                                                  C   Contingent
             o Debtor 2 only                                                  • Unliquidated
             C Debtor 1 and Debtor 2 only                                     C   Disputed
             C At least one of the debtors and another                        Type of NONPRIORITY unsecured claim;

             C Check if this claim Is for a community                         C Student loans
             debt                                                             C Obligations arising out of a separation agreement or divorce that you did not
             Is the claim subject to offset?                                  report as priority claims
             • No                                                             C Debts to pension or profit-sharing plans, and other similar debts

             C Yes                                                            • Other. Specify     Business Debt        -   Company Fuel Card


 43          Rintegrity LLC                                                   Last 4 digIts of account number                                                         Si 000,000.00
             Nonpriori:y Cred;tors Name
             do Jana S. Pail                                                  When was the debt incurred?
             Whiteford, Taylor, Preston LLP
             200 First Avenue, 3rd Floor
             Pittsburgh, PA 15222
             Nun’ber Street City State Z:p Code                               As of the date you file, the claim is; Check all that apply
             Who incurred the debt? Check one.
             • Debtor 1 only                                                  C Contingent

             C Debtor 2 only                                                      Unliquidated

             C Debtor 1 and Debtor 2 only                                     •  Disputed
             C At least one of the debtors and another                        Type of NONPRIORiTY unsecured claim:
             C Check If this ctaim is for a community                         C   Student loans
             debt                                                             C  Obligations arising out of a separation agreement or divorce that you did not
             Is the claim subject to offset?                                  report as priority claims
             • No                                                             C   Debts to pension or profit-sharing plans, and other similar debts

             C Yes                                                            • Other. Specify     Business Debt



             Sallie Mae                                                       Last 4 dIgits of account number                                                            $30,605.00
             Nonpnority Creditor’s Name
             P0 Box 70233                                                     Wben was the debt Incurred?
             Philadelphia, PA 19176-0233
             Number Street City State Zip Code                                As of the date you file, the claim is: Check all that apply
             Who incurred the debt? Check one.
             C   Debtor 1 only                                                C Contingent

             o Debtor 2 only                                                  • Unliquidated
             C Debtor 1 and Debtor 2 only                                     C  Disputed
             . At least one of the debtors and another                        Type of NONPRIORITY unsecured claim:

             C  Check if this claim is for a community
                                                                              • Student loans
            debt                                                              C Obligaticns arising out of a separation agreement or divorce that you did not
            Is the claim subject to offset?                                   report as priority claims
             * No                                                             C Debts to pension   or profit-shar:ng pans, and other sirn:lar debts
             o Yes                                                            C Other Specify
                                                                                                   Student Loans




Official Form 106 E/F                                            Schedule ElF: Creditors Who Have Unsecured Claims                                                           Page 2 of 4
Software   Copight   c) 199e-2021 Best   Case, LLC   -   inv beslcase corn                                                                                            Best Casa Bankruptcy
          Case 21-21632-JAD                         Doc 12            Filed 08/13/21 Entered 08/13/21 11:45:23                                          Desc Main
                                                                     Document     Page 19 of 51
 Debtor 1      Michael T. Cioffi                                                                          Case number (‘r known)            21-21632

            USAA                                                      Last 4 dIgits of account number                                                              $500.00
           Nonpricrity Creditors Name
           10750 McDermott Freeway                                    When was the debt Incurred?
           San Antonio, TX 78288
           Number Street City State Zip Code                          As of the date you file, the ciaim is: Check all that apply
           Who Incurred the debt? Check one,
            • Debtor 1 only                                           C   Contingent
               Debtor 2 only                                          • Unliquidated
           C Debtor 1 and Debtor 2 only                               C Disputed
           C At east one of the debtors and another                   Type of NONPRiORITY unsecured claim:
           o Check If this clatm Is for a community                   C   Student loans
           debt                                                       0 Obligations arising out of a separation agreement or divorce that you did nat
           is the claim subject to offset?                            report as priority claims
            • No                                                      O Debts to pension or profit-sharLng plans, and other similar debts
           0 Yes                                                      • Other. specify    Credit Card


           Welton D. Shipe                                            Last 4 digits of account number                                                        $384,785.67
           Nonpric’iy Creoitors Name
           do Bradley M. Bassi                                        When was the debt Incurred?
           Bassi, Vreeland & Associates, PC
           111 Fallowfield Avenue
           Charleroi, PA 15022
           Number Street Cty State Zip Code                           As of the date you file, the claim is: Check ao that apoy
           Who incurred the debt? Check one.
                                                                      • Co9tingent
            • Debtor I only
           C   Debtor 2 only                                          • Unhquioated

           O   Debtor 1 and Debtor 2 only                             • Disputed
           C   At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

           0   Check If this claim Is for a community                 o Student loans
           debt                                                       O Obtgabons arising out of a separation agreement or divorce that you did not
           Is the ctalm subject to offset?                            report as priority claims
           • No                                                       o Debts to pension or profit-sharing plans, and other sim:iar debts
           0 Yes                                                      • Other Specify Business Debt               -   pending lawsuit

tnia           List Others to Be Notified About a Debt That You Already Listed
5. Use this page only if you have others to be notified about your bankruptcy, for a debt that you already listed In Parts I or 2. For example, If a collection agency
   Is trying to coltect from you for a debt you owe to someone else, list the original creditor in Parts I cr2, then list the coliection agency here. Similarly, if you
   have more than one creditor for any of the debts that you listed In Parts I or 2, list the additional credItors here. If you do not have additional persons to be
   notified for any debts in Parts I or 2, do not fill out or submit this page.

tnita Add the Amounts for Each Type of Unsecured Claim
6. Total the amounts of certain types of unsecured claims. This information is for statistical reporting purposes only. 28 U.S.C. §159. Add the amounts for each
   type of unsecured claim.
                                                                                                                                Total Claim
                        Ga     Domestic support obligations                                                 Ga.          $                       0.00
 Total
 claims
 from Part I            Gb     Taxes and certain other debts you owe the government                         6b.          $                       0.00
                        6c.    Claims for death or personal injury while you were intoxicated               Bc.          $                       0.00
                        Gd.    Other. Add all other priority unsecured claims. Write that amount here.      6d.          $                       0.00

                        Be.    Total Priority. Add lines 6a through 6d.                                     Be.          $                       0.00

                                                                                                                                Total Claim
                        6f.    Student toans                                                                6f.          $                  30,605.00
 Total
 claims
 from Part 2            6g.    obligations arising out of a separation agreement or divorce that
                               you did not report as priority claims                                        69,          $                       0.00
                        6h.    Debts to pension or profit-sharing plans, and other similar debts            6h,          $

Official Form 106 ElF                                   Schedule F/F: CredItors Who Have Unsecured Ciaims                                                          Page 3 of 4
Software Copyright Cc) 1996’2021 Best Case, LLC wvov bosicase corn
                                               -                                                                                                            Best Case Bankruptcy
         Case 21-21632-JAD                         Doc 12           Filed 08/13/21 Entered 08/13/21 11:45:23                                Desc Main
                                                                   Document     Page 20 of 51
Debtor 1     Michael T. Cioffi                                                                       Case number   (iricnown)    21-21632
                                                                                                                                        0.00
                        01,   Other. Add all other nonpriorily unsecured claims, Write that amount    61.
                              here,                                                                          $                  1,402,121.02

                        6j.   Total Nonpriority. Add lines 61 through 6i.                             6j.     $                 1,432,726.02




Official Form 106 ElF                                  Schedule ElF: Creditors Who Have Unsecured Claims                                                Page 4 or 4
Software copwioht Ic) 1996.2021 Best case, LLC www beatcase corn
                                              -
                                                                                                                                                 Best case Bankruptcy
                 Case 21-21632-JAD                            Doc 12         Filed 08/13/21 Entered 08/13/21 11:45:23                    Desc Main
                                                                            Document     Page 21 of 51
  PHI In this information to identify your case:
  Debtor 1                  Michael T. Cioffi
                            First Name                               Middle Name         Last Name

  Debtor 2
 lS3Dus B’. Lt9l            First Naive                              M;ocle Na—e         Last Name

  United States Bankruptcy Court for the.                      WESTERN DISTRICT OF PENNSYLVANIA

 Case number           21-21632
     if ‘EOW”)
                                                                                                                                     Q Check if this is an
                                                                                                                                       amended filing


Official Form 106G
Schedule G: Executory Contracts and Unexpired Leases                                                                                       12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space Is needed, copy the additional page, fill it out, number the entries, and attach It to this page. On the top of any
additional pages, write your name and case number (if known).

1.       Do you have any executory contracts or unexpired leases?
         C No. Check this box and file this form with the court with your other schedules. You have nothing else to report on this form.
         • Yes. Fill in aH of the information below even if the contacts of leases are listed on Schedufe A/&Propedy (Official Form 106 NB).

2.       LIst separately each person or company with whom you have the contractor lease. Then state what each contract or lease is for (for
         example, rent, vehicle lease, cell phone). See the instructions for this form in the instruction booklet for more examples of executory contracts
         and unexpired leases.


            Person or company with whom you have the contract or lease                     State what the contract or lease is for
                           Nra N.rte: Street.          city   State ad zip coca

      2.1        Dominion Transmission                                                        Gas Storage Lease -$1 50/year      +   free gas
                 925 White Oaks Blvd
                 Bridgeport, WV 26330




Official Form 106G                                       Schedule C: Executory Contracts and Unexpired Leases                                             Page 1 of 1
Software Copyright Ic) 1996-2021   Best   case,   LLC .niiw baatcaae corn                                                                        Best   case Bankruptcy
            Case 21-21632-JAD                          Doc 12          Filed 08/13/21 Entered 08/13/21 11:45:23               Desc Main
                                                                      Document     Page 22 of 51
  Fill In this information to Identify your case:
  Debtor 1                    Michael_T. Cieffi
                             P?st Name     —           —      Middle Name           Last Name
  Debtor 2
  (Spouse   if, t.Ing)        F rat Name                      P/dde Name            Last Name

  United States Bankruptcy Court for the:               WESTERN DISTRICT OF PENNSYLVANIA

 Case number             21-21632
 (i’known)
                                                                                                                           9 Check if this is an
                                                                                                                             amended filing

Official Farm 106H
Schedule H: Your Codebtors                                                                                                                      12115

Codebtors are people or entities who are also liable for any debts you may have. Be as complete and accurate as possible. if two married
people are filing together, both are equally responsible for supplying correct Information. If more space is needed, copy the Additional Page,
fill it out, and number the entries in the boxes on the left Attach the Additional Page to this page. On the top of any Additional Pages, write
your name and case number (if known). Answer every question.

      1. Do you have any codebtors? (If you are filing a joint case, do not list either spouse as a codebtor.

      CNo
      • Yes

      2. Within the lastS years, have you lived in a community property state or territory? (Community property states and terfitodes include
      Arizona, California, Idaho. Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, and Wisconsin.)

      • No. Go to line 3.
      Dyes. Did your spouse, former spouse, or legal equivalent live with you at the time?


   3. In Column 1, list all of your codebtors. Do not include your spouse as a codebtor if your spouse is filing with you. List the person shown
      in line 2 again as a codebtor only if that person is a guarantor or cosigner. Make sure you have listed the creditor on Schedule U (Official
      Form ICSD), Schedule ElF (Official Form 106BF), or Schedule G (Official Form 106G). Use ScheduleD, Schedule ElF, or Schedule G to fill
      out Column 2.

                 Column I: Your codebtor                                                           Column 2: The creditor to whom you owe the debt
                                 city, State and ZIP
                 Name, Number, Street.                 code                                        Check all schedules that apply:


    3.1          Leah Cioffi                                                                       C Schedule D, line
                 2842 Greene Drive
                 Greensburg, PA 15601
                                                                                                   •  Schedule ElF, line    4.4
                                                                                                   9 Schedule G
                                                                                                   Sallie Mae



    3.2          Quinn Cioffi                                                                      • Schedule D, line   2.3
                 2842 Green Drive
                                                                                                   U Schedule ElF, line
                 Greensburg, PA 15601
                                                                                                     Schedule G
                                                                                                   S&T Bank



    3.3          Quinn Cioffi                                                                      • Schedule U, line    2.1
                 2842 Green Drive
                                                                                                   C Schedule ElF, line
                 Greensburg, PA 15601
                                                                                                   U Schedule C
                                                                                                   Clarion Federal credit Union




Official Form 106H                                                             Schedule H: Your Codebtors                                  Page 1 of 2
Software Copyright cl 19962D21 Beat case, LLC   -WMW   besicase com                                                                    Best case Bankruptcy
           Case 21-21632-JAD                          Doc 12              Filed 08/13/21 Entered 08/13/21 11:45:23                     Desc Main
                                                                         Document     Page 23 of 51
  Debtor 1     Michael T. Cioffi                                                                  Case number   (fknDwfl)   21-21632


              Additional Page to List More Codebtors
               Column I: Your codebtor                                                                 Column 2: The creditor to whom you owe the debt
                                                                                                       Check all schedules that apply:
     3.4       Quinn Cioffi                                                                            •  Schedule D, line 2.2
               2842 Green Drive
                                                                                                         Schedule ElF line
               Greonsburg, PA 15601
                                                                                                         Schedule C
                                                                                                       Elderton Bank




Official Form 106H                                                                Schedule H: Your Codebtors                                   Page 2 of 2
Software Copyright (cI 1 996-2021 Best Case, LLC vnv.v bestcase
                                                -                 corn                                                                     Best Case Bankruptcy
              Case 21-21632-JAD                      Doc 12          Filed 08/13/21 Entered 08/13/21 11:45:23                               Desc Main
                                                                    Document     Page 24 of 51


  Fill in this information to identify your case

  Debtor 1                            Michael T. Cioffi
  Debtor 2
  Spouse,     it   filing)

  United States Bankruptcy Courtforthe:              WESTERN DISTRICT OF PENNSYLVANIA

 Case number                     21 -21632                                                                     Check if this is:
 lit known)
                                                                                                               C An amended rUing
                                                                                                               C A supplement showing postpetition chapter
                                                                                                                  13 income as of the following date:
 Official Form 1061                                                                                                MM! DO! YYYY
 Schedule I: Your Income                                                                                                                    12/15
Be as complete and accurate as possible. If two married people are filing together (Debtor 1 and Debtor 2), both are equally responsible for
supplying correct information. If you are married and not filing jointly, and your spouse is living with you, include information about your
spouse. If you are separated and your spouse ‘snot filing with you, do not include information aboutyour spouse. If more space is needed,
attach a separate sheet to this form. On the top of any additional pages, write your name and case number (if known). Answer every question.

 Pafti:                      Describe Emnlovment
       Fill In your employment
       Information.                                                        Debtor I                                  Debtor 2 or non-filing spouse
       If you have more than one job,                                      • Employed                                S Employed
       attach a separate page with                  Employment status
       information about additional                                        C Not employed                            C Not employed
       employers.
                                                    Occupation             Project Manager                           Title Abstracter
       Include part-time, seasonal, or
       self-employed work.                          Employer’s name        ROK Maryland LLC                          Angel Abstract

       Occupation may include student               Employer’s address
       or homemaker, if it applies.                                        1017 Brightseat Road                      2842 Greene Drive
                                                                           Hyattsville, MD 2D785                     Greensburg, PA 15601

                                                    How long employed there?          10 months                               20   +    years

 Part 2:                     Give Details About Monthly Income

Estimate monthly income as of the date you file this form. If you have nothing to report for any line, write $0 in the space. Include your non-filing
spouse unless you are separated,

If you or your non-filing spouse have more than one employer, combine the information for all employers for that person on the lines below, If you need
more space, attach a separate sheet to this form,

                                                                                                             For Debtor I          For Debtor 2 or
                                                                                                                                   non-filing spouse

       List monthly gross wages, salary, and commissions (before all payroll
 2.    deductions). If not paid monthly, calculate what the monthly wage would be,                2.     $        6,825.00         $              0,00

 3.    Estimate and list monthly overtime pay.                                                    3.   $               0.00        *5             0.00

 4.    Calculate gross Income. Add line 2             +   line 3.                                 4.     5      6,825.00                $       0.00




Official Form 1061                                                             Schedule I: Your Income                                                   page 1
            Case 21-21632-JAD                  Doc 12    Filed 08/13/21 Entered 08/13/21 11:45:23                                        Desc Main
                                                        Document     Page 25 of 51

 Debtor 1    Michael T. Cleft]                                                                         Case number (if knownl    21-21632


                                                                                                           For Debtor I           For Debtor 2 or
                                                                                                                                  non-filing spouse
      Copy line 4 here                                                                      4.             $       6,825.00       $             0.00
 5.   LIst all payroll deductions:
      5a.     Tax, Medicare, and Social Security deductions                                     Sa.        $         580.13      $                   0.00
      5b.     Mandatory contributions for retirement plans                                      5b.        $           0.00      $                   0.00
      Sc.     Voluntary contributions for retirement plans                                      Sc.        $           0.00      5                   0.00
      5d.     Required repayments of retirement fund loans                                      5d.        $           0.00      $                   0.00
      Se.     Insurance                                                                         Se.        $           0.00      5                   0.00
      5f.     Domestic support obligations                                                      5f.        $           0.00      $                   0.00
      5g.     Union dues                                                                        5g.        $           0.00      $                   0.00
      5h.     Other   deductions.   Specify:                                                    5h.+       5           0.00 ÷    $                   0.00
 6.   Add the payroll deductions. Add lines 5a+5b+5c+5d+5e+Sf+5g+5h.                        6.         $             580.13      $                   0.00
 7.   Calculate total monthly take-home pay. Subtract Une 6 from line 4.                    7.         $           6,244.87      $                   0.00
 8.   List all other income regularly received:
      Sa.    Net income from rental property and from operating a business,
             profession, or farm
             Attach a statement for each property and business showing gross
             receipts, ordinary and necessary business expenses, and the total
             monthly net income.                                                            8a.            $              0.00   $          1,250.00
      Sb.    Interest and dividends                                                         Sb.            S              0.00   $              0.00
      Sc.    Family support payments that you, a non-filing spouse, or a dependent
             regularly receive
             Include alimony, spousal support, child support, maintenance, divorce
             settlement, and property settlement.                                           Sc.            $              0.00   $                   0.00
      3d.    Unemployment compensation                                                      Sd.            $              0.00   $                   0.00
      Be. Social Security                                                                   Se.            $              0.00   $                   0.00
      8f.    Other government assistance that you regularly receive
             Include cash assistance and the value (if known) of any non-cash assistance
             that you receive, such as food stamps (benefits under the Supplemental
             Nutrition Assistance Program) or housing subsidies.
             Specify:                                                                       Sf.  $                        0.00   $                   0.00
      8g.    Pension or retirement income                                                   8g. $                         0.00   $                   0.00
      Bh.    Other monthly income. Specify:                                                 Sh.+ $                        0.00                       0.00

 9.   Add all other Income. Add lines Sa+8b+Sc+Sd+Se+Sf+Sg+Bh.                              9.         5                  0.00   5              1,250.00

 ID. Calculate monthly income. Add line 7 + line 9.                                        0.     $            6,244.87      5       1,250.00        5      7,494.87
     Add the entries in line 10 for Debtor 1 and Debtor 2 or non-filing spouse.
 11. State all other regular contributions to the expenses that you list in Schedule J.
     Include contributions from an unmarried partner, members of your household, your dependents, your roommates, and
     other friends or relatives.
     Do not include any amounts already included in lines 2-10 or amounts that are not available to pay expenses listed in Schedule I
     Specify:                                                                                                                  11. +5                           0.00

 12. Add the amount in the last column of line 10 to the amount in line 11. The result is the combined monthly income.
     Write that amount on the Summary of Schedules and Statistical Summary of Certain Liabilities and Related Data, if it
     applies                                                                                                                              12.    $          7,494.87

                                                                                                                                                Combined
                                                                                                                                                monthly income
 13. Do you expect an increase or decrease within the year after you file this form?
     •     No.
     Q     Yes. Explain:




Official Form 1061                                                      Schedule I: Your income                                                             page 2
       Case 21-21632-JAD                     Doc 12           Filed 08/13/21 Entered 08/13/21 11:45:23                                   Desc Main
                                                             Document     Page 26 of 51


Fill in this information to identify your case:

Debtor I                Michael T. Cioffi                                                                      Check if this is:
                                                                                                               C An amended filing
Debtor 2                                                                                                       C A supplement showing postpetition chapter
(Spouse, if filing)                                                                                                13 expenses as of the following date:

United States Bankruptcy Court for the:   WESTERN DISTRICT OF PENNSYLVANIA                                              MM / DO / YYYY

case number           21-21632
(If known)



Official Form 106J
Schedule J: Your Expenses                                                                                                                                   12115
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space Is needed, attach another sheet to this form. On the top of any additional pages, write your name and case
number (if known). Answer every question.

IFfl       Describe Your Household
 1. Is this a joint case?
      • No. Go to line 2,
      C Yes. Does Debtor 2 live in a separate household?
                 CNo
                 C Yes. Debtor 2 must file Official Form 1 C6J-2, Expenses for Separate Household of Debtor 2.
2.    Do you have dependents?             C No
      Do not list Debtor 1 and            • Yes       Fill out this information for   Dependent’s relatIonship to          Dependent’s     Does dependent
      Debtor 2.                                   ‘   each dependent                  Debtor I or Debtor 2                 age             live with you?

                                                                                                                                           CNo
      Do not state the
      dependents names.                                                               Child                                17              • Yes
                                                                                                                                           CN0
                                                                                      Child                                20              • Yes
                                                                                                                                           CN0
                                                                                                                                           C Yes
                                                                                                                                           CN0
                                                                                                                                           C Yes
3.    Do your expenses Include                    •   No
      expenses of people other than
      yourself and your dependents?                   Yes

           Estimate Your Ongoing Monthly Expenses
Estimate your expenses as of your bankruptcy filing date unless you are using this form as a supplement In a Chapter 13 case to report
expenses as of a date after the bankruptcy is tiled. If this Is a supplemental Schedule J, check the box at the top of the form and fill in the
applicable date.

Include expenses paid for with non-cash government assistance if you know
the value of such assistance and have included It on Schedule!: Your Income
(Official Form 1061.)                                                                                                           Vour expenses


4.    The rental or home ownership expenses for your residence, Include first mortgage
      payments and any rent for the ground or lot.                                                             4. $                             1,240.61

       If not Included Inline 4:

      4a.   Real estate taxes                                                                                 4a.   $                            500.00
      4b. Property, homeowner’s, or renter’s insurance                                                        4b.   $                            166.00
      4c.   Home maintenance, repair, and upkeep expenses                                                     4c.   $                            250.00
      4d.   Homeowner’s association or condominium dues                                                       4d.   5                              0.00
5.    Additional mortgage payments for your residence, such as home equity loans                               5.   5                              0.00




Official Form 106J                                                      Scheduled: Your Expenses                                                            page 1
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                                                           Document     Page 27 of 51

 Debtor I      Michael T. Cioffi                                                                         Case number (if known)      21-21632

 6.    Utilities:
       6a.     Electricity, heat, natural gas                                                                 6a.    $                              265.00
       6b.    Water, sewer, garbage collection                                                                Sb.    $                                25.00
       Sc.    Telephone, cell phone, Internet, satellite, and cable services                                  6c,    $                              614.71
       Sd.    Other. Specify:                                                                                 6d. $                                   0.00
 7.    Food and housekeeping supplies                                                                          7. $                               1,200.00
 8.    Childcare and children’s education costs                                                                8. $                                 188.00
 9.    Clothing, laundry, and dry cleaning                                                                      9. $                                300.00
 10.   Personal care products and services                                                                     10.   $                              250.00
 11.   Medical and dental expenses                                                                             11.   $                              100.00
 12.   Transportation. Include gas, maintenance, bus or train fare.
       Do not include car payments.                                                                            12.   $                              500.00
 13,   EntertaInment, clubs, recreation, newspapers, magazines, and books                                      13. $                                200.00
 14.   Charitable contributions and religious donations                                                        14. $                                  0.00
 15.   Insurance.
       Do not include insurance deducted from your pay or included in lines 4 or 20.
       isa. Life insurance                                                                                   15a. $                                  46.00
       15b. Health insurance                                                                                 15b. $                               1,200.00
       1 Sc. Vehicle insurance                                                                               15c. $                                 416.00
       1 Sd. Other insurance, Specify:                                                                       15d. $                                   0.00
 16.   Taxes. Do not include taxes deducted from your pay or included in lines 4 or 20.
       Specify:                                                                                16. 5                                                   0.00
 17.   Installment or lease payments:
       17a. Car payments for Vehicle 1                                                       17a. $                                                 360.00
       1 7b. Car payments for Vehicle 2                                                      17b. $                                                 540.00
       17c. Other, Specify:                                                                  17c. $                                                   0.00
       17d. Other. Specify:                                                                  17d. $                                                   0.00
 18.   Your payments of alimony, maintenance, and support that you did not report as
       deducted from your pay online 6, Schedule!, Your Income (Official Form 1061).           18, $                                                   0.00
 19.   Other payments you make to support others who do not live with you.                         $                                                   0.00
       Specify:                                                                                19.
 20.   Other real property expenses not included in lines 4 or 5 of this form or on Schedule I: Your Income.
       20a. Mortgages on other property                                                     20a. $                                                     0.00
       20b. Real estate taxes                                                               2Db. 5                                                     0.00
       2Cc, Property, homeowner’s, or renter’s insurance                                     2Cc. $                                                    0.00
       20d. Maintenance, repair, and upkeep expenses                                        20d. $                                                     0.00
       20e. Homeowner’s association or condominium dues                                     2De, $                                                     0.00
 21.   Other: Specify:                                                                        21. +$                                                   0.00
 22.   Calculate your monthly expenses
       22a. Add lines 4 through 21,                                                                                       $                    8,361.32
       22b. Copy line 22 (monthly expenses for Debtor 2),        if any, from Official Form 106J-2                        $
       22c. Add line 22a and 22b. The result is your monthly expenses.                                                    $                    8,361.32

23.    Calculate your monthly net income.
       23a. Copy line 12 (your combined monthly income) from Schedule I.                                     23a,    $                            7,494.87
       23b.    Copy your monthly expenses from line 22c above.                                               23b.    -$                           8,361.32

       23c.    Subtract your monthly expenses from your monthly income.
               The result is your monthly net income,                                                        23c.                                  -866.45

24.    Do you expect an Increase or decrease In your expenses within the year after you file this form?
       For example, do you expect to finish paying for your car loan within the year or do you expect your mortgage payment to increase or decrease because of a
       modification to the terms of your mortgage?
       • No.
       C   Yes.           I Explain here:




Official Form 1 06J                                                  Schedule    J: Your Expenses                                                                  page   2
              Case 21-21632-JAD                      Doc 12            Filed 08/13/21 Entered 08/13/21 11:45:23                            Desc Main
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 Fill In this information to Identify your case:
 Debtor 1                    Michael T.   cioffi
                             FrstNane                    —-   Mddte Name                Last Name
 Debtor 2
 (Spouse if t[IPflgI         First Name                        Mddra Name               Last Name

 United States Bankruptcy Court for the:               WESTERN DISTRICT OF PENNSYLVANIA

 Case number              21-21632
 Ii! known)                                                                                                                                Check if this is an
                                                                                                                                           amended filing



Official Form lO6Dec
Declaration About an Individual Debtor’s Schedules                                                                                                                 12115

If two married people are filing together, both are equally responsible for supplying correct information.

You must file this form whenever you rile bankruptcy schedules or amended schedules. Making a false statement, concealing property, or
obtaining money or property by fraud in connection with a bankruptcy case can result In fines up to $250,000, or imprisonment for up to 20
years, or both. 18 U.S.C. § 162,1341,1519, and 3571.


                       Sign Below


        Did you pay or agree to pay someone who Is NOT an attorney to help you fill out bankruptcy forms?

        •       No

        Q       Yes. Name of person                                                                                 Attach Bankruptcy Petition Propareis Notice,
                                                                                                                    Declaration, and Signature (Official Form 119)


      Under penalty of perjury, I declare that I have read the summary and schedules tiled with this declaration and
      that they are true and correct.

        X is! Michael T. cioffi                                                         x
          Michael T. cioffi                                                                 Signature of Debtor 2
          Signature of Debtor 1

              Date       August 13, 2021                                                    Date




Official Form loSDec                                          Declaration About an Individual Debtor’s Schedules
Software copyright (c) 1g962o21 Beat Case, LLC   ‘nww bestoase corn                                                                                 Best   case   Bankruptcy
               Case 21-21632-JAD                             Doc 12          Filed 08/13/21 Entered 08/13/21 11:45:23                                  Desc Main
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 Fill In this information to Identify your case:
 Debtor I                      Michael T. Cioffi
                               FLrst Non’s                         Middle Name                    Lest Name
 Debtor 2
 iScouse    i’.   h ;“g)       Fra:   Nan’s                         rt,d:Ia Name                  Leaf Name

 United States Bankruptcy Court for the:                      WESTERN DISTRICT OF PENNSYLVANIA

 Case number               21-21632
     kflownl
                                                                                                                                                   Q Check if this is an
                                                                                                                                                     amended filing


Official Form 107
Statement of Financial Affairs for Individuals Filing for Bankruptcy                                                                                                             4119
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case
number (if known). Answer every question.

1E111                Give Details About Your Marital Status and Where You LIved Before

1.      What is your current marital status?

        •          Married
        C          Not married

2.      During the last 3 years, have you lived anywhere other than whore you live now?

        •          No
        o          Yes, List all of the places you lived in the last 3 years. Do not include where you live now.

         Debtor 1 Prior Address:                                        Dates Debtor I               Debtor 2 Prior Address:                              Dates Debtor 2
                                                                        lived there                                                                       lived there

3. WithIn the last 8 years, did you ever live with a spouse or legal equivalent In a community property state or territory? (Community property
states and territories include Arizona, California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico! Texas! Washington and Wisconsin.)


        0          Yes. Make sure you fill out Schedule H: Your Codebtors (Official Form 1 06H).

 -.                  Explain the Sources of Your Income

4.      Did you have any income from employment or from operating a business during thIs year or the two previous calendar years?
        Fill in the total amount of income you received from all jobs and all businesses, including part-time activities.
        If you are filing a joint case and you have income that you receive together. list it only once under Debtor 1.

        ONo
        •          Yes. Fill in the details.

                                                         Debtor I                                                          Debtor 2
                                                         Sources of income                  Gross Income                   Sources of income              Gross Income
                                                         Check all that apply.              (before deductions and         Check all that apply.          (before deductions
                                                                                            exclusions)                                                   and exclusions)
 From January 1 of current year until                    • Wages, commissions,                           $49,000.00        C Wages, commissions,
 the date you filed for bankruptcy:                      bonuses, tips                                                     bonuses, tips

                                                         C     Operating a business                                        C Operating a business




Official Form 107                                              Statement of Financial Affairs for Individuals Filing for Bankruptcy                                            page I
Software copyright (c) 1996.2021 Best case! LLC   .   ws,w   bestcase.com                                                                                      Best   case   Bankruptcy
          Case 21-21632-JAD                         Doc 12           Filed 08/13/21 Entered 08/13/21 11:45:23                                 Desc Main
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 Debtor 1      Michael T. Cioffi                                                                            Case number (if/mown)    21-21632


                                                   Debtor I                                                        Debtor 2
                                                   Sources of income                 Gross Income                  Sources of Income            Gross income
                                                   Check all that apply.             (before deductions and        Check all that apply.        (before deductions
                                                                                     exclusions)                                                and exclusions)
 For last calendar year:                           • Wages, commissions,                         $70,249.00        C Wages, commissions,
 (January Ito December 31,2020)                                                                                    bonuses, tips
                                                   bonuses, tips
                                                   C   Operating a business                                        C   Operating a business

 For the calendar year before that:                • Wages, commissions,                         $58,000.00        C Wages, commissions,
 (January 1 to December 31,2019)                   bonuses, tips                                                   bonuses, tips

                                                   C Operating a business                                          C Operating a business


5.    DId you receive any other income during this year or the two previous calendar years?
      Include income regardless of whether that income is taxable. Examples of other income are alimony; child support; Social Security, unemployment,
      and other public benefit payments; pensions; rental income; interest; dividends; money collected from lawsuits; royalties; and gambling and lottery
      winnings. If you are filing a joint case and you have income that you received together, list it only once under Debtor 1.

      List each source and the gross income from each source separately. Do not include income that you listed in line 4.

      •     No
      C     Yes. Fill in the details.

                                                  Debtor I                                                         Debtor 2
                                                  Sources of income                  Gross income from             Sources of income            Gross Income
                                                  Describe below,                    each source                   Describe below.              (before deductions
                                                                                     (before deductions and                                     and exclusions)
                                                                                     exclusions)

tniia List Certain Payments You Made Before You Filed for Bankruptcy

6.    Are either Debtor l’s or Debtor 2’s debts primarily consumer debts?
      • No, Neither Debtor I nor Debtor 2 has primarily consumer debts. Consumer debts are defined in 11 U.S.C. § 101(8) as “incurred by an
                 individual primarily for a personal, family, or household purpose,”

                    During the 90 days before you filed for bankruptcy, did you pay any creditor a total of 56,825* or more?
                     • No,       Go to line 7,
                     C Yes List below each creditor to whom you paid a total of 56,825* or more in one or more payments and the total amount you
                                 paid that creditor, Do not include payments for domestic support obligations, such as child support and alimony. Also, do
                                 not include payments to an attorney for this bankruptcy case,
                     *
                       Subject to adjustment on 4101/22 and every 3 years after that for cases filed on or after the date of adjustment.
      C     Yes. Debtor I or Debtor 2 or both have primarily consumer debts.
                 During the 90 days before you filed for bankruptcy, did you pay any creditor a total of $600 or more?

                     C No.         Go to line 7.
                     C Yes         List below each creditor to whom you paid a total of $600 or more and the total amount you paid that creditor, Do not
                                   include payments for domestic support obligations, such as child support and alimony. Also, do not include payments to an
                                   attorney for this bankruptcy case.


       Creditor’s Name and Address                              Dates of payment             Total amount          Amount you        Was this payment for
                                                                                                     paid            still owe




Official Form 107                                      Statement of Financial Affairs for Individuals Filing for Bankruptcy                                     page 2
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  Debtor 1       Michael T. Cioffi                                                                                Case number      ‘/kndwn)   21-21632


 7.    Within 1 year before you filed for bankruptcy, did you make a payment on a debt you owed anyone who was an insider?
       Insiders include your relatives: any general partners; relatives of any general partners: partnerships of which you are a general partner; corporations
       of which you are an officer, director, person in control, or owner of 20% or more of their voting securities; and any managing agent, including one for
       a business you operate as a sole proprietor. 11 U.S.C.                  §   101. Include payments for domestic support obligations, such as child support and
       alimony.

       •    No
       C    Yes. List all payments to an insider
        Insider’s Name and Address                                       Dates of payment            Total amount        Amount you           Reason for this payment
                                                                                                             paid          still owe
 8.    Within 1 year before you filed for bankruptcy, did you make any payments or transfer any property on account of a debt that benefited an
       insider?
       include payments on debts guaranteed or cosigned by an insider.

       •     No
       D     Yes. List all payments to an insider
        Insider’s Name and Address                                       Dates of payment            Total amount        Amount you           Reason for this payment
                                                                                                             paid          still owe          Include creditors name
ITZ            Identify Legal Actions, Repossessions, and Foreclosures

9.     Within 1 year before you filed for bankruptcy, were you a party in any lawsuit, court action, or administrative proceeding?
       List all such matters, including personal injury cases, small claims actions, divorces, collection suits, paternity actions, support or custody
       modifications, and contract disputes.

       DNo
       • Yes Fill in the details.
        Case title                                                       Nature of the case         Court or agency                           Status of the case
        Case number
        Rintegrity, LLC Assignee of                                  Confession of                  Court ofCommon Pleas                      N Pending
        Somerset Trust Company vs.                                   Judgment                       Westmoreland County
        Michael Cioffi
                                                                                                                                              C On appeal
                                                                                                    2 N Main St
        No. 1312 of 2021                                                                                                                      C C on ci u d e d
                                                                                                    Greensburg, PA 15601-2405

        Welton U. Shipe Jr. vs. Enech                                    Breach of                  Court of Common Pleas                     • Pending
        Enregy Serices, LLC, Raymond                                     Contract                   Washington County                         C On appeal
        Huckstein and Michael T. Cioffi                                                             I S Main St
        2021-1358                                                                                                                             C Conclud e d
                                                                                                    Washington, PA 15301-6813

        Rintegrity LLC vs Michael T. Cioffi                          Fraudulent                     Court of Common Pleas                     • Pending
        and Quinn Cioffi                                             Conveyance                     McKean County                             C On appeal
        348 C.D. 2021                                                                               500W. Main Street
                                                                                                                                              C C oncu
                                                                                                                                                     I d ed
                                                                                                    Smethport, PA 16749


IC. Within 1 year before you filed for bankruptcy, was any of your property repossessed, foreclosed, garnished, attached, seized, or levied?
    Check all that apply and fill in the details below.

       •     No. Go to line 11.
       C     Yes. Fill in the information below.
       Creditor Name and Address                                     Describe the Property                                          Date                             Value of the
                                                                                                                                                                        property
                                                                     Explain what happened
11. Within 90 days before you filed for bankruptcy, did any creditor, including a bank or financial institution, set off any amounts from your
    accounts or refuse to make a payment because you owed a debt?
    • No
    C Yes. Fill in the details.
       Creditor Name and Address                                     Describe the action the creditor took                          Date action was                       Amount
                                                                                                                                    taken


Official Form 107                                           Statement of Financial Affairs for Individuals Filing for Bankruptcy                                              page 3
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                                                    .
                                                                                                                                                                  Best case gsnkruptcy
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  Debtor 1      Michael T. ClotH                                                                            Case number      itknown)   21-21632


 12. Within 1 year before you filed for bankruptcy, was any of your property in the possession of an assignee for the benefit of creditors, a
     court-appointed receiver, a custodian, or another offlciai7
       •     No
       O     Yes

ItFmIa List Certain Gifts and Contributions

 13. Within 2 years before you filed for bankruptcy, did you give any gifts with a total value of more than $600 per person?
     • No
     O Yes. Fill in the details for each gift.
        Gifts with a total value of more than $600                    Describe the gifts                                      Dates you gave                     Value
        per person                                                                                                            the gifts
       Person to Whom You Gave the Gift and
       Address:

14. Within 2 years before you filed for bankruptcy, did you give any gifts or contributions with a total value of more than $600 to any charity?
    • No
    0 Yes. Fill in the details for each gift or contribution.
       Gifts or contributions to charities that total                 Describe what you contributed                           Dates you                          Value
       more than $600                                                                                                         contributed
       Charity’s Name
       Address (Number, Streel, city, State and ZIP Code)


1P11          List Certain Losses

15. Within 1 year before you filed for bankruptcy or since you filed for bankruptcy, did you lose anything because of theft, fire, other disaster,
    or gambling?

      •      No
      0      Yes. Fill in the details.
       Describe the property you lost and                   Describe any Insurance coverage for the loss                      Date of your         Value of property
       how the loss occurred                                Include the amount that insurance has paid. List pending          loss                              lost
                                                            insurance claims on line 33 of Schedule NB; Property.

Iflit List Certain Payments or Transfers

16. Within 1 year before you filed for bankruptcy, did you or anyone else acting on your behalf pay or transfer any property to anyone you
    consulted about seeking bankruptcy or preparing a bankruptcy petition?
    Include any attorneys, bankruptcy petition preparers, or credit counseling agencies for services required in your bankruptcy.

      0      No
      •      Yes. Fill in the details.
       Person Who Was Paid                                            Description and value of any property                   Date payment                Amount of
       Address                                                        transferred                                             or transfer was              payment
       Email or website address                                                                                               made
       Person Who Made the Payment, If Not You
       RobertO Lampl Law Office                                       Attorney Fees                                                                       $7,500.00
       Senedum Trees Building
       223 Fourth Avenue, 4th Floor
       Pittsburgh, PA 15222
       rlampl@lampllaw.com




Offl&al Form 107                                      Statement of Financial Affairs for Individuals Filing for Bankruptcy                                       page 4
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                                                                                                                                                     Bed Case Bankruptcy
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 Debtor 1      Michael T. Cioffi                                                                                   Case number{erknown)      21-21632


17. Within 1 year before you filed for bankruptcy, did you or anyone else acting on your behalf pay or transfer any property to anyone who
    promised to help you deal with your creditors or to make payments to your creditors?
    Do not include any payment or transfer that you listed on line 16.

      •     No
      D     Yes. Fill in the details.
       Person Who Was Paid                                            Description and value of any property                           Date payment                Amount of
       Address                                                        transferred                                                     or transfer was              payment
                                                                                                                                      made
18. Within 2 years before you filed for bankruptcy, did you sell, trade, or otherwise transfer any property to anyone, other than property
    transferred in the ordinary course of your business or financial affairs?
    Include both outright transfers and transfers made as security (such as the granting of a security interest or mortgage on your property). Do not
    include gifts and transfers that you have already listed on this statement.
    No
    • Yes. Fill in the details.
       Person Who Received Transfer                                   Description and value of                            Describe any property or        Date transfer was
       Address                                                        property transferred                                payments received or debts      made
                                                                                                                          paid in exchange
       Person’s relationship to you
       Quinn Cioffi                                                   540 West Branch Road                                                                June 2020
       2824 Greene Drive                                              West Branch Road
       Greensburg, PA 15601-8972
                                                                      Father passed in May of
       Wife                                                           2020. Prior to his passing,
                                                                      Debtor owned properites
                                                                      with father as JTWROS.
                                                                      Upon his father’s death,
                                                                      Debtor transferred
                                                                      properties to Debtor and
                                                                      Debtor’s spouse (entireties)
                                                                      for estate planning
                                                                      purposes.


19. Within 10 years before you filed for bankruptcy, did you transfer any property to a self-settled trust or similar device of which you are a
    beneficiary? (These are often called asset-protection devices.)
    • No
    D Yes. Fill in the details.
       Name of trust                                                  Description and value of the property transferred                                   Date Transfer was
                                                                                                                                                          made

1FThL         List of Certain Financial Accounts, Instruments, Safe Deposit Boxes, and Storage Units

20. Within 1 year before you filed for bankruptcy, were any financial accounts or Instruments held In your name, or for your benefit, closed,
    sold, moved, or transferred?
    Include checking, savings, money market, or other financial accounts; certificates of deposit; shares In banks, credit unions, brokerage
    houses, pension funds, cooperatives, associations, and other financial Institutions.
    •No
         Yes. Fill in the details.
       Name of Financial Institution and                        Last 4 dIgits of               Type of account or                Date account was              Last balance
       Address (Number, Street, City, State and zip             account number                 Instrument                        closed, sold,             before closing or
       code)                                                                                                                     moved, or                          transfer
                                                                                                                                 transferred

21.   Do you now have, or did you have within 1 year before you filed for bankruptcy, any safe deposit box or other depository for securities,
      cash, or other valuables?

      •     No
      D     Yes. Fill in the details.
       Name of Financial Institution                                  Who else had access to it?                   Describe the contents                    Do you still
                            city, state and ZiP code)
       Address (Number, Street,                                       Address (Number, Street, city,                                                        have it?
                                                                      State and ZiP code)


Official Form 107                                     Statement of Financial    Affairs   for Individuals Filing   for   Bankruptcy                                        pageS

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                                              -                                                                                                              Best Case Bankruptcy
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  Debtor 1       Michael T. Cioffi                                                                                             Case number   (If known)   21-21632


 22.   Have you stored property in a storage unit or place other than your home within 1 year before you filed for bankruptcy?

       •     No
       U     Yes. Fill In the details.
        Name of Storage Facility                                                Who else has or had access                     Describe the contents                 Do you still
                             City, Stale and ZIP Code)
        Address (Number, Street,                                                to it?                                                                               have It?
                                                                                Address     (Number, Street, City,
                                                                                State end ZIP code)

I1iI           Identify Property You Hold or Control for Someone Else

 23,   Do you hold or control any property that someone else owns? Include any property you borrowed from, are storing for, or hold in trust
       for someone.

       •No
       U     Yes. Fill in the details.
        Owner’s Name                                                            Where is the property?                         Describe the property                              Value
        Address (Number, Street. City, State and ZIP Code)                      (Number, Street, CIty, State and ZIP
                                                                                Code)

initna Give Details About Environmental Information

For the purpose of Part 10, the following definitions apply:

       Environmental law means any federal, state, or local statute or regulation concerning pollution, contamination, releases of hnardous or
       toxic substances, wastes, or material into the air, land, soil, surface water, groundwater, or other medium, Including statutes or
       regulations controlling the cleanup of these substances, wastes, or material.
 •     Site means any location, facility, or property as defined under any environmental law, whether you now own, operate, or utilize it or used
       to own, operate, or utilize it, including disposal sites.
•      Hazardous material means anything an environmental law defines as a hazardous waste, hazardous substance, toxic substance,
       hazardous material, pollutant, contaminant, or similar term.

Report all notices, releases, and proceedings that you know about, regardless of when they occurred.

24. Has any governmental unit notified you that you may be liable or potentially liable under or in violation of an environmental law?

       •No
       U Yes. Fill In the details.
        Name of site                                                            Governmental unit                                 Environmental law, if you          Date of notice
       Address (Number, Street, City. State end ZIP Code)                       Address (Number, Street, city. State and          know it
                                                                                ZIP code)

25.    Have you notified any governmental unit of any release of hazardous matehai?

       •     No
       U     Yes. Fill in the details.
       Name of site                                                             Governmental unit                                 Environmental law, if you          Date of notice
       Address (Number,           Street, City, Stale end ZIP Code)             Address (Number, Street,     City, Slate and      know it
                                                                                zi code)

26. Have you been a party in any judicial or administrative proceeding under any environmental law? Include settlements and orders.

       •No
       U Yes. Fill In the details.
       Case Title                                                               Court or agency                                Nature of the case                    Status of the
       Case Number                                                              Name                                                                                 case
                                                                                Address (Number, Street city,
                                                                                State end ZIP code)

ITTI          Give Details About Your Business or Connections to Any Business

27. Within 4 years before you filed for bankruptcy, did you own a business or have any of the following connections to any business?
             C   A sole proprietor or seif-employed in a trade, profession, or other activity, either full-time or part-time

             • A member of a limited liability company (LLC) or limited liability partnership (LLP)
Official Form 107                             Statement of Financial Affairs for individuals Filing for Bankruptcy                                                                page   6
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  Debtor 1        Michael T. Cioffi                                                                           Case number t kncwnl   21-21632


                0 A partner In a partnership
                C An officer, director, or managing executive of a corporation
                C An owner of at least 5% of the voting or equity securities of a corporation
        o       No. None of the above applies, Go to Part 12.
        •    Yes. Check all that apply above and fill in the details below for each business.
        Business Name                                               Describe the nature of the business            Employer Identification number
        Address                                                                                                    Do not Include Social Security number or ITIN.
        Number, Street, City, State and ZIP Code)                   Name of accountant or bookkeeper
                                                                                                                   Dates business existed
        Entech Energy Services, LLC                                 Metal abrication                               EIN:
        105 Mahoning Avenue
        New Castle, PA 16102                                                                                       From-To     July 2018- November2020

        LECA LLC                                                    Business Consulting                            EIN:
        2842 Greene Drive
        Qreensburg, PA 15601                                                                                       From-To     2014- 2018 or 2019


28. Within 2 years before you filed for bankruptcy, did you give a financial statement to anyone about your business? Include all financial
    institutions, creditors, or other parties.

        •    No
      C      Yes. Fill In the details below.
        Name                                                        Date Issued
        Address
        (Number, Street,   city, Slate and ZIP Code)
I2flP Sign Below

I have read the answers on this Statement of Financial Affairs and any attachments, and I declare under penalty of perjury that the answers
are true and correct. I understand that making a false statement, concealing property, or obtaining money or property by fraud in connection
with a bankruptcy case can result In fines up to $250,000, or imprisonment for up to 20 years, or both.
18 U.S.C. § 152,1341,1519, and 3571.

 Isi Michael T. Cioffi
 Michael T, Cioffi                                                         Signature of Debtor 2
 Signature of Debtor I

 Date
            August    13,    2021                                          Date




Did you attach additional pages to Your Statement of Financial Affairs for Individuals Filing for Bankruptcy (Official Form 107)?
• No
o  Yes

Did you pay or agree to pay someone who is not an attorney to help you fill out bankruptcy forms?
I No
C Yes. Name of Person         Attach the Bankruptcy Petition Preparer’s Notice, Declaration, and Signature (Official Form 119).
                                          .




Official Form   107                                     Statement of Financial Affairs for Individuals Filing for Bankruptcy                                    page?
Soitware Copyright (c) 1996.2021 flest Case, LLC wwv bettoase.com
                                                 -
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 Fill in thIs information to Identify your case:
 Debtor 1                         Michael T, Cioffi_____________________________________________________
                                  Fvst Name                           Misdie Name                Last Name

 Debtor 2
 (Spouse    ..
                 ftiig)           F:-st Name                          Miode Name                 Last Name

 United States Bankruptcy Court for the:                         WESTERN DISTRICT OF PENNSYLVANIA

 Case number                 21-21632
• ii Ieacwr.)
                                                                                                                                  Q Check if this is an
                                                                                                                                      amended filing


Official Form 108
Statement of Intention for Individuals Filing Under Chapter 7                                                                                           12115

If you are an individual filing under chapter 7, you must fill out this form if:
I creditors have claims secured by your property, or
I you have leased personal property and the lease has not expired.
You must file this form with the court within 30 days after you file your bankruptcy petition or by the date set for the meeting of creditors,
        whichever is earlier, unless the court extends the time for cause. You must also send copies to the creditors and lessors you list
        on the form

If two married people are filing together in a Joint case, both are equally responsIble for supplyIng correct information. Both debtors must
          sIgn and date the form.

Be as complete and accurate as possible. If more space is needed, attach a separate sheet to this form. On the top of any additional pages,
        write your name and case number (if known).

Iit                List Your Creditors Who Have Secured Claims

I. For any creditors that you listed in Part I of Schedule 0: CredItors Who Have Claims Secured by Property (Official Form I 060), fill In the
   information below.
    Identify the creditor and the property that Is collateral  What do you intend to do with the property that    Did you claim the property
                                                               secures a debt?                                    as exempt on Schedule C?


     Creditors             Clarion Federal Credit Union                             C Surrender the property.                     C No
     name:                                                                          C Retain the property and redeem it.
                                                                                    C Retain the property and enter into a        I Yes
     Description of             2017 Ford Taurus 145,000 miles                        Reaffirmation Agreement.
     property                                                                       • Retain the property and Cexplain]:
     securing debt:                                                                  make current payments


    Creditors              Elderton Bank                                            C Surrender the property.                     C No
    name:                                                                           C Retain the property and redeem it.
                                                                                    C Retain the property and enter into a        I Yes
     Description of             2860 Greene Drive Greensburg,                         Reaffinnation Agreement
     property                   PA 15601 Westmoreland                               I Retain the property and [explain]:
     securing debt:             County
                                Tax Id. No. 57-18-00-0-050; 33
                                acres with barn; contiguous to
                                house                                                make current payments



    Credito?s              S&T Bank                                                 C Surrender the property.                     C No
    name:                                                                           C Retain the property and redeem it.
                                                                                    U Retain the property and enter into a        I Yes

Official Form 108                                                 Statement of Intention for Individuals Filing Under Chapter 7                              page 1
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                                                          -
                                                                                                                                              Best   case   Bankruptcy
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 Debtor 1       Michael T. Cioffi                                                                       Case number:fknow    21-21632

     Description of     2842 Greene Drive Greensburg,                        Reaffirmation Agreement.
     property           PA 15601 -8972 Westmoreland                      •   Retain the property and [explain]:
     securing debt:     County
                        Tax Id. No. 57-18-00-0-144                        make current payments


iFTW       List Your Unexpired Personal Property Leases
For any unexpired personal property lease that you listed In Schedule G: Executory Contracts and Unexpired Leases (Official Form 106G), fill
in the information below. Do not list real estate leases. Unexpired leases are leases that are still in effect; the lease period has not yet ended,
You may assume an unexpired personal property lease if the trustee does not assume It 11 U.S.C. § 365(p)(2).

 Describe your unexpIred personal property leases                                                                           Will the lease be assumed?

 Lessors name:                                                                                                              D   No
 Description of leased
 Property:
                                                                                                                            Q   Yes

 Lessors name:                                                                                                              C   No
 Description of leased
 Property:
                                                                                                                            c   Yes

 Lessor’s name:
 Description of leased
 Property:
                                                                                                                                Yes

 Lessor’s name                                                                                                                  No
 Description of leased
 Property:
                                                                                                                            C   Yes

 Lessor’s name:                                                                                                             C   No
 Description of leased
 Property:
                                                                                                                            C   Yes

 Lessor’s name:                                                                                                             C   No
 Descriplion of leased
 Property:
                                                                                                                            C   Yes

 Lessors name:                                                                                                              C   No
 Description of leased
 Property:
                                                                                                                            C   Yes

iiIGa Sign Below

Under penalty of perjury, I declare that I have indicated my intention about any property of my estate that secures a debt and any personal
property that is subject to an unexpired lease.

 X     Isi   Michael T. Cioffi                                                      x
       Michael T. Cioffi                                                                Signature of Debtor 2
       Signature of Debtor 1


       Date                                                                          Date
                   August     13,2021




Official Form 108                                     Statement of Intention for Individuals Filing Under Chapter 7                                    page 2

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  Fill in this       information to identify your case:
                                                                                                     Check one box only       as directed In this   form and In Form
               1                                                                                     122A-lSupp:
  Debtor                   Michael T. Cioffi
  Debtor 2
  (Spouse, f fiiing)
                                                                                                          •   I   There is no presumption of abuse


  United States Bankruptcy Court for the:             Western District of Pennsylvania                    D   2. The calculation to determine if a presumption of abuse
                                                                                                                 applies will be made under Chapter 7 Means Test
  Case number              21-21632                                                                               Calculation (Official Form 122A-2).
  (if known(
                                                                                                          D   3. The Means Test does not apply now because of
                                                                                                                 qualified military service but it could apply later.


                                                                                                          C   Check if this is an amended filing
Official Form 122A 1                         -



Chapter 7 Statement of Your Current Monthly Income                                                                                                                      04120
Be  as complete and accurate as possible. If two marrIed people are tiling together, both are equally responsible for being accurate, If more space
                                                                                                                                                    is needed,
attach a separate sheet to this form. Include the line numberto which the additional information applies. On the top of any additional pages, write your name and
case number (if known). if you believe that you are exempted from a presumption of abuse because you do not have primarily consumer debts or because of
qualifying military service, complete and file Statement of Exemption from Presumption of Abuse Under § 707(b) (2) (Official Form 122A-lSuppj with this form.
 lrnii                Calculate Your Current Monthly Income
     1.   What is your marital and filing status? Check one only.
          C        Not married. Fill out Column A, lines 2-11
          C    Married and your spouse is tiling with you. Fill out bath Columns A and B, lines 2-11.
          C Married and your spouse is NOT filing with you. You and your spouse are:
               C  Living in the same household and are not legally separated. Fill out both Columns A and B, lines 2-1 1.
               C  Living separately or are legally separated. Fill out Column A, lines 2-11; do not fill out Column B. By checking this box, you declare under
                   penalty of perjury that you and your spouse are legally separated under nonbankruptcy law that applies or that you and your spouse are
                   living apart for reasons that do not include evading the Means Test requirements. 11 U.S.C § 707(b)(7)(B).
       Fill in the average monthly income that you received from all sources, derived during the 6 full months before you file this bankruptcy case. ii u S C §
       1OI(1OA). For exampie. if you are fltng on September 15. the 6-month period would be March 1 through August 31. if tre amount of your montniy income varied Ourng
       the 6 mcn,s, add tfe income for a!: 6 months and civide the tctai by 6 Fi in the result. Do nc: inctude any income amount mare than once For example, if both
       spouses own the same rental property, put the income from that property in one cotumn on:y. if you have r.othirg to report tar any tine, wri’,e SO in the space
                                                                                                          Column A                  Column B
                                                                                                          Debtor I                  Debtor 2 or
                                                                                                                                    non-filing spouse

   2. Your gross wages, salary, tips, bonuses, overtime, and commissions (before all
      payroll deductions).                                                           $                                              $
   3. Alimony and maintenance payments. Do not include payments from a spouse if
      Column B is filled in.                                                         $                                              $
   4.     All amounts from any source which are regularly paid for household expenses
          of you or your dependents, including child support. Include regular contributions
          from an unmarried partner, members of your household, your dependents. parents,
          and roommates. Include regular contributions from a spouse only if Column B is not
          filled in. Do not include payments you listed on line 3.                                        $                         S
   & Net income             from operating a business, profession, or farm

                                                                                   Debtor I
          Gross receipts (before all deductions)                            $
          Ordinary and necessary operating expenses                        -s
          Net monthly income from a business, profession, or farm $                      Copy here   -,
                                                                                                          $                         $
  6. Net income from rental and other real property
                                                                                  Debtor 1
          Gross receipts (before all deductions)                            $
          Ordinary and necessary operating expenses                        -S
          Net monthly income from rental or other real property            $             Copy here   -,   $                         $
  7.      interest, dividends, and royalties                                                              $                         $




Official   Form       122A-1                               Chapter 7 Statement of Your Current Monthly Income                                                      page 1
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                                                 -
                                                                                                                                                        Best case Bankruptcy
           Case 21-21632-JAD                              Doc 12           Filed 08/13/21 Entered 08/13/21 11:45:23                           Desc Main
                                                                          Document     Page 39 of 51
 Debtorl       Michael T. Cioffi                                                                        Case number (II known)   21-21632


                                                                                                       Column A                  Column B
                                                                                                       Debtor I                  Debtor 2 or
                                                                                                                                 non-filing spouse
  B. Unemployment compensation                                                                $                                  $
      Do not enter the amount if you contend that the amount received was a benefit under
      the Social Security Act. Instead, list it here.
           For     you                                         $
          For your spouse                                      $
  9. PensIon or retirement income. Do not include any amount received that was a
      benefit under the Social Security Act. Also, except as stated in the next sentence, do
      not include any compensation, pension, pay, annuity, or allowance paid by the
      United States Government in connection with a disability, combat-related injury or
      disability, or death of a member of the uniformed services. If you received any retired
      pay paid under chapter 61 of title 10. then include that pay only to the extent that it
      does not exceed the amount of retired pay to which you would otherwise be entitled
      if retired under any provision of title 10 other than chapter 61 of that title.         $                                  $
  10. Income from all other sources not listed above. Specify the source and amount.
      Do not include any benefits received under the Social Security Act; payments made
      under the Federal law relating to the national emergency declared by the President
      under the National Emergencies Act (50 U.S.C. 1601 et seq.) with respect to the
      coronavirus disease 2019 (COVID-19); payments received as a victim of a war
      crime, a crime against humanity, or international or domestic terrorism; or
      compensation pension, pay, annuity, or allowance paid by the United States
      Government in connection with a disability, combat-related injury or disability, or
      death of a member of the uniformed services. If necessary, list other sources on a
      separate page and put the total below..
                                                                                              $                                  $
                                                                                              $                                  $
                 Total amounts from separate pages, if any.                                                                      $

  11. Calculate your total current monthly Income. Add lines 2 through 10 for
      each column. Then add the total for Column A to the total for Column B.                   5

                                                                                                                                                   Total current monthly
                                                                                                                                                   Income

ltflTh.            Determine Whether the Means Test Applies to You

  12. Calculate your current monthly income for the year. Follow these steps:
                                                                                                                                                                            1
       1 2a. Copy your total current monthly income from line 11                                              copy line II here=’              $

               Multiply by 12 (the number of months in a year)                                                                                      x   12
       12b. The result is your annual income for this part of the form                                                                  12b. $

  13. Calculate the median family Income that applies to you. Follow these steps:
       Fill in the state in which you live.

       Fill in the number of people in your household.
       Fill in the median family income for your state and size of household.           _,,_
                                                                                                                                        13.
       To find a list of applicable median income amounts, go online using the link specified in the separate instructions
       for this form. This list may also be available at the bankruptcy clerks office.
                                                                                                                                              F___________________
  14. How do the Ones compare?
       14a.         C    Line 1 2b is less than or equal to line 13. On the top of page 1. check box I, Them is no presumption of abuse.
                         Go to Part 3. Do NOT fill out or file Official Form 122A-2.
       1 4b.        C    Line I 2b is more than line 13. On the top of page 1, check box 2, The presumption of abuse is determined by Form 1224-2.
                         Go to Part 3 and fill out Form I 22A—2.
IF1Th’          Sign Below
               By signing here, I declare under penalty of petjury that the information on this statement and in any attachments is true and correct.

               X    Is! Michael T, Cioffi
                    Michael T. Cioffi

Official Form 122A-1                                            Chapter 7 Statement of Your Current Monthly Income                                                page 2
Software ccpyrrght {c) 1996-2021 Best case, LLC   -   Mw# bestcase corn                                                                                  Best case Bankruptcy
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                                                                        Document     Page 40 of 51
 Debtor 1       Michael T. Cioffi                                                                      Case number   lit known)   21—21632
                    Signature of Debtor 1
            Date August 13, 2021
                    MM/DD /YYYY
                If you checked line 14a, do NOT fill out or file Form 12242.
                If you checked line 14b, fill out Form 122A-2 and file it with this form.




Official Form 122A-1                                           Chapter 7 Statement of Your Current Monthly Income                                        page 3
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           Case 21-21632-JAD                                Doc 12            Filed 08/13/21 Entered 08/13/21 11:45:23                       Desc Main
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 Fill In this information to identi’ your case:

 Debtor 1             Michael T. Cioffi

Debtor 2
(Spouse, if filing)

 United States Bankruptcy Court for the:                    Western District of Pennsylvania

Case number           21-21632                                                                        C Check if this is an amended filing
(if known)


Official Form 122A lSupp                      -




Statement of Exemption from Presumption of Abuse Under                                                                       §   707(b)(2)                            12115

File this supplement together with Chapter 7 Statement of Vour Current Monthly income (Official Form 1 22A-1), If you believe that you are
exempted from a presumption of abuse. Be as complete and accurate as possible. If two married people are filing together, and any of the
exclusions in this statement applies to only one of you, the other person should complete a separate Form 1224-1 If you believe that this is
required by 11 U.S.C. § 707(b)(2)(C).

IFTh            Identify the Kind of Debts You Have

  1. Are your debts primarily consumer debts? Consumer debts are defined in 11 U.S.C. § 101(8) as “incurred by an individual primarily for a
     personal, family, or household purpose.” Make sure that your answer is consistent with the answer you gave at line 16 of the Voluntary Petition for
     Individuals Filing for Bankruptcy (Official Form 1).

       • No.      Go to Form 1224-1; on the top of page 1 of that form, check box 1, Them is no presumption of abuse, and sign Part 3. Then submit this
                  supplement with the signed Form 122A-1.
       C    Yes. Go to Part 2.

lFThWa          Determine Whether Military Service Provisions Apply to You

  2. Are you a disabled veteran (as defined in 38 U.S.C. § 3741 (1))?
     C No. Go to line 3.
     C Yes. Did you incur debts mostly while you were on active duty or while you were performing a homeland defense activity?
             10 U.S.C. § 1D1(d)(1); 32 U.S.C. § 901(1).
              C No.       Go to line 3.
              C Yes.      Go to Form 122A-1: on Ihe top of page 1 of that form. check box 1, There is no presumption of abuse, and sign Part 3. Then
                          submit this supplement with the signed Form 122A-1.

  3. Are you or have you been a Reservist or member of the National Guard?
     C No. Complete Form 1 22A-1. Do not submit this supplement.
     C Yes. Were you called to active duty or dd you perform a homeland defense activity? 10 U.S.C.                   §   101(d)(1); 32 U.S.C.   § 901(1).
          C No. Complete Form 1224-1. Do not submit this supplement.
              C   Yes.     Check any one of the following categories that applies:
                                                                                             If you checked one of the categories to the left, go to Form
                    C      I was called to active duty after September 11, 2001, for at least1 22A-1. On the top of page 1 of Form 1 22A-1, check box 3,
                           90 days and remain on active duty.                                The Means Test does not apply now, and sign Part 3. Then
                                                                                             submit this supplement with the signed Form 1 22A-1. You
                    C     I was called to active duty after September 11, 2001, for at least are not required to fill out the rest of Official Form 1 22A-1
                          90 days and was released from active duty on                       during the exclusion period. The exclusion period means
                          which is fewer than 540 days before I file this bankruptcy case.   the time you are on active duty or are performing a
                                                                                             homeland defense activity, and for 540 days afterward. 11
                    C     lam performing a homeland defense activity for at least 90 days. U.S.C. 707(b)(2)(D)Qi)
                                                                                                     §
                    C     I performed a homeland defense activity for at least 90 days,
                                                                                                     If your exclusion period ends before your case is closed,
                          ending on                  which is fewer than 540 days before I
                                                                                                     you may have to file an amended form later.
                          file this bankruptcy case.




Official Form 1 22A-1 Supp                              Statement of Exemption from Presumption of Abuse Under   §   707(b)(2)                                    page 1
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 Notice Required by 11 U.S.C. § 342(b) for
 Individuals Filing for Bankruptcy (Form 2010)


                                                                                                Chapter 7:         Liquidation
 This notice is for you if:
                                                                                                        $245      filing fee
         You are an individual filing for bankruptcy,
         and                                                                                             $78      administrative fee
         Your debts are primarily consumer debts.                                               +        $15      trustee surcharqe
         Consumerdebts are defined in 11 U.S.C.
         § 101(8) as “incurred by an individual                                                         $338      total fee
         primarily for a personal, family, or
         household purpose.”                                                                    Chapter 7 is for individuals who have financial
                                                                                                difficulty preventing them from paying their debts
                                                                                                and who are willing to allow their non-exempt
 The types of bankruptcy that are available to                                                  property to be used to pay their creditors. The
 individuals                                                                                    primary purpose of filing under chapter 7 is to have
                                                                                                your debts discharged. The bankruptcy discharge
 Individuals who meet the qualifications may file under                                         relieves you after bankruptcy from having to pay
 one of four different chapters of Bankruptcy Code:                                             many of your pre-bankruptcy debts. Exceptions exist
                                                                                                for particular debts, and liens on property may still
         Chapter 7 Liquidation
                          -
                                                                                                be enforced after discharge. For example, a creditor
                                                                                                may have the right to foreclose a home mortgage or
         Chapter 11           -   Reorganization                                                repossess an automobile.

         Chapter 12 Voluntary repayment plan
                              -
                                                                                                However, if the court finds that you have committed
                    for family farmers or                                                       certain kinds of improper conduct described in the
                    fishermen                                                                   Bankruptcy Code, the court may deny your
                                                                                                discharge.
         Chapter 13 Voluntary repayment plan
                              -




                    for individuals with regular                                                You should know that even if you file chapter 7 and
                    income                                                                      you receive a discharge, some debts are not
                                                                                                discharged under the law. Therefore, you may still
                                                                                                be responsible to pay:
 You should have an attorney review your
 decision to file for bankruptcy and the choice of                                                  most taxes;
 chapter.
                                                                                                    most student loans;

                                                                                                    domestic support and property settlement
                                                                                                    obligations;




Notice Required by II     u.s.c. § 342(b)   for Individuals Filing for Bankruptcy (Form 2010)                                                         page I
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                                                                                                                                          Best Case Bankruptcy
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         most fines, penalties, forfeitures, and criminal                                    your income is more than the median income for your
         restitution obligations; and                                                        state of residence and family size, depending on the
                                                                                             results of the Means Test, the U.S. trustee, bankruptcy
         certain debts that are not listed in your bankruptcy                                administrator, or creditors can file a motion to dismiss
         papers.                                                                             your case under § 707(b) of the Bankruptcy Code. If a
                                                                                             motion is filed, the court will decide if your case should
 You may also be required to pay debts arising from:                                         be dismissed. To avoid dismissal, you may choose to
                                                                                             proceed under another chapter of the Bankruptcy
         fraud or theft;                                                                     Code.

         fraud or defalcation while acting in breach of                                      If you are an individual filing for chapter 7 bankruptcy,
         fiduciary capacity;                                                                 the trustee may sell your property to pay your debts,
                                                                                             subject to your right to exempt the property or a portion
         intentional injuries that you inflicted; and                                        of the proceeds from the sale of the property. The
                                                                                             property, and the proceeds from property that your
         death or personal injury caused by operating a                                      bankruptcy trustee sells or liquidates that you are
         motor vehicle, vessel, or aircraft while intoxicated                                entitled to, is called exempt property. Exemptions may
         from alcohol or drugs.                                                              enable you to keep your home, a car, clothing, and
                                                                                             household items or to receive some of the proceeds if
 If your debts are primarily consumer debts, the court                                       the property is sold.
 can dismiss your chapter 7 case if it finds that you have
 enough income to repay creditors a certain amount.                                          Exemptions are not automatic. To exempt property,
 You must file Chapter 7 Statement of Your Current                                           you must list it on Schedule C: The Property You Claim
 Monthly Income (Official Form 122A—1) if you are an                                         as Exempt (Official Form 1 06C). If you do not list the
 individual filing for bankruptcy under chapter 7. This                                      property, the trustee may sell it and pay all of the
 form will determine your current monthly income and                                         proceeds to your creditors.
 compare whether your income is more than the median
 income that applies in your state.

 If your income is not above the median for your state,
 you will not have to complete the other chapter 7 form,                                     Chapter 11: Reorganization
 the Chapter 7 Means Test Calculation (Official Form
 122A—2).
                                                                                                          $1,167    filing fee
 If your income is above the median for your state, you
 must file a second form —the Chapter 7 Means Test                                              +           $571    administrative fee
 Calculation (Official Form 122A—2). The calculations on                                                  S1,738    totalfee
 the form— sometimes called the Means Test—deduct
 from your income living expenses and payments on                                            Chapter 11 is often used for reorganizing a business,
 certain debts to determine any amount available to pay                                      but is also available to individuals. The provisions of
 unsecured creditors. If                                                                     chapter 11 are too complicated to summarize briefly.




Notice Required by 11    u.s.c. § 342(b) for Individuals Filing for Bankruptcy (Form 2010)                                                            page 2
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                                              -                                                                                           Best Case Bankruptcy
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         Read These Important Warnings

              Because bankruptcy can have serious long-term financial and legal consequences, including loss of
              your property, you should hire an attorney and carefully consider all of your options before you file.
              Only an attorney can give you legal advice about what can happen as a result of filing for bankruptcy
              and what your options are. If you do file for bankruptcy, an attorney can help you fill out the forms
              properly and protect you, your family, your home, and your possessions.

              Although the law allows you to represent yourself in bankruptcy court, you should understand that
              many people find it difficult to represent themselves successfully. The rules are technical, and a mistake
              or inaction may harm you. If you file without an attorney, you are still responsible for knowing and
              following all of the legal requirements.

              You should not file for bankruptcy if you are not eligible to file or if you do not intend to file the
              necessary documents.

              Bankruptcy fraud is a serious crime; you could be fined and imprisoned if you commit fraud in your
              bankruptcy case. Making a false statement, concealing property, or obtaining money or property by
              fraud in connection with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to
              20 years, or both. 18 U.S.C. § 152, 1341, 1519, and 3571.



                                                                                                   Under chapter 13, you must file with the court a plan
 Chapter 12: Repayment plan for family                                                             to repay your creditors all or part of the money that
             farmers or fishermen                                                                  you owe them, usually using your future earnings, If
                                                                                                   the court approves your plan, the court will allow you
                                                                                                   to repay your debts, as adjusted by the plan, within 3
                       $200         filing fee                                                     years or 5 years, depending on your income and other
 +                      $78         administrative fee                                             factors.
                       $278         total fee
                                                                                                   After you make all the payments under your plan,
 Similar to chapter 13, chapter 12 permits family farmers                                          many of your debts are discharged. The debts that are
 and fishermen to repay their debts over a period of time                                          not discharged and that you may still be responsible to
 using future earnings and to discharge some debts that                                            pay include:
 are not paid.
                                                                                                          domestic support obligations,

                                                                                                          most student loans,
 Chapter 13: Repayment plan for
             individuals with regular                                                                     certain taxes,
             income
                                                                                                          debts for fraud or theft,

                       $235         filing fee                                                            debts for fraud or defalcation while acting in a
 +                      $78         administrative fee                                                    fiduciary capacity,
                       $313         totalfee
                                                                                                          most criminal fines and restitution obligations,
 Chapter 13 is for individuals who have regular income
 and would like to pay all or part of their debts in                                                      certain debts that are not listed in your
 installments over a period of time and to discharge                                                      bankruptcy papers,
 some debts that are not paid. You are eligible for
 chapter 13 only if your debts are not more than certain                                                  certain debts for acts that caused death or
 dollar amounts set forth in 11 U.S.C. § 109.                                                             personal injury, and

                                                                                                          certain long-term secured debts.



Notice Required by ii          u.s.c. § 342(b) for Individuals Piling for Bankruptcy (Form 2010)                                                            page 3
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                                                                                                 A married couple may file a bankruptcy case
                Warning: File Your Forms on Time                                                 together—called a joint case. If you file a joint case and
                                                                                                 each spouse lists the same mailing address on the
 Section 521(a)(1) of the Bankruptcy Code requires that                                          bankruptcy petition, the bankruptcy court generally will
 you promptly file detailed information about your                                               mail you and your spouse one copy of each notice,
 creditors, assets, liabilities, income, expenses and                                            unless you file a statement with the court asking that
 general financial condition. The court may dismiss your                                         each spouse receive separate copies.
 bankruptcy case if you do not file this information within
 the deadlines set by the Bankruptcy Code, the                                                   Understand which services you could receive from
 Bankruptcy Rules, and the local rules of the court.                                             credit counseling agencies

 For more information about the documents and                                                    The law generally requires that you receive a credit
 their deadlines, go to:                                                                         counseling briefing from an approved credit counseling
 http://www. uscourts.qov/forms/bankruptcy-forms                                                 agency. 11 U.S.C. § 109(h). If you are filing a joint
                                                                                                 case, both spouses must receive the briefing. With
                                                                                                 limited exceptions, you must receive it within the 180
 Bankruptcy crimes have serious consequences                                                     days before you file your bankruptcy petition. This
                                                                                                 briefing is usually conducted by telephone or on the
         If you knowingly and fraudulently conceal assets                                        Internet.
         or make a false oath or statement under penalty
         of perjury—either orally or in writing—in                                               In addition, after filing a bankruptcy case, you generally
         connection with a bankruptcy case, you may be                                           must complete a financial management instructional
         fined, imprisoned, or both.                                                             course before you can receive a discharge. If you are
                                                                                                 filing a joint case, both spouses must complete the
         All information you supply in connection with a                                         course.
         bankruptcy case is subject to examination by the
         Attorney General acting through the Office of the                                       You can obtain the list of agencies approved to provide
         U.S. Trustee, the Office of the U.S. Attorney, and                                      both the briefing and the instructional course from:
         other offices and employees of the U.S.                                                 http://www. uscourts.gov/services-forms/bankruptcy/cre
         Department of Justice.                                                                  dit-cou n seling-and -debtor-education-courses.

 Make sure the court has your mailing address                                                    In Alabama and North Carolina, go to:
                                                                                                 http://www. uscourts.gov/services-forms/bankruptcy/cre
 The bankruptcy court sends notices to the mailing                                               dit-cou nse ling-and-debtor-ed ucation-cou rses.
 address you list on Voluntary Petition for Individuals
 Filing for Bankruptcy (Official Form 101). To ensure                                            If you do not have access to a computer, the clerk of
 that you receive information about your case,                                                   the bankruptcy court may be able to help you obtain
 Bankruptcy Rule 4002 requires that you notify the court                                         the list.
 of any changes in your address.




Notice Required by Ii        u.s.c. § 342(b) for Individuals Filing for Bankruptcy (Form 2010)                                                           page 4
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                                                       IN THE UNITED STATES BANKRUPTCY COURT
                                                      FOR THE WESTERN DISTRICT OF PENNSYLVANIA

 In Re:                                                                              :       Bankruptcy No. 21-21632
               Michael T. Cioffi
                                                                                             Chapter 7

                                                                        Debtor

              Michael T. Cioffi
 Movant                                                                              :       Related to Document No. I




                                                 V.


 No Respondent



                                                  NOTICE REGARDING FILING OF MAILING MATRIX

             In accordance with Local Bankruptcy Rule 1007-1(e) I,                       Robert C Lampl 19809   ,counsel for the debtor(s) in the
above-captioned case, hereby certify that the following list of creditors’ names and addresses was uploaded through the
creditor maintenance option in CM/ECF to the above-captioned case.




                                                                    By: 1st Robert C Lampl
                                                                         Signature
                                                                        RobertO Lampl 19809
                                                                        Typed Name
                                                                        Benedum Trees Building
                                                                        223 Fourth Avenue, 4th Floor
                                                                        Pittsburgh, PA 15222
                                                                        Address
                                                                        412-392-0330 Fax:412-392-0335
                                                                        Phone No.
                                                                        19809 PA
                                                                        List Bar ID. and State of Admission




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62030 (Form 2030) (12/15)
                                                               United States Bankruptcy Court
                                                                    Western   District of Pennsylvania
     In re        Michael T. Cioffi                                                                                Case No.     21 -21632
                                                                                    Debtor(s)                      Chapter      7

                             DISCLOSURE OF COMPENSATION OF ATTORNEY FOR DEBTOR(S)
             Pursuant to II U S.C. 329(a) and Fed. Bankr. I’. 2016(b), I eertifS’ that lam the attorney for the above named debtor(s) and that
             compensation paid tome within one year before the filing of the petition in bankruptcy, or agreed to he paid to me, for services rendered or to
             he rendered on behalf of the debtor(s) in contemplation of or in connection with the bankruptcy case is as follows:
                  For legal services, I have agreed to accept                                                  S                  7,500.00
                  Prior to the filing of this statement I have received                                        $                  7,500.00
                  Balance Due                                                                                  S                       0.00

2.       The source of the compensation paid to me was:
                  • Debtor           D    Other (specify):

3.       The source of compensation to he paid to me is:
                  • Debtor           D    Other (specify):

4.           •   I have not agreed to share the above-disclosed compensation with any other person unless they are members and associates of my law firm.

             C I have agreed to share the above-disclosed compensation with a person or persons who are not members or associates of my law firm. A
               copy of the agreement, together with a list of the names of the people sharing in the compensation is attached.

5.           In return for the above-disclosed fee, I have agreed to render legal service for all aspects of the bankruptcy ease, including:

         a.      Analysis of the debtor’s financial situation, and rendering advice to the debtor in determining whether to file a petition in bankruptcy;
         h.      Preparation and filing of any petition, schedules, statement of affairs and plan which may be required;
         c.      Representation of the dehtor at the meeting of creditors and confirmation hearing, and any adjourned hearings thereof;
         d.      Representation of the debtor in adversary proceedings and other contested bankruptcy matters;
         e.       Other provisions as needed]
                      Negotiations with secured creditors to reduce to market value; exemption planning; preparation and filing of
                      reaffirmation agreements and applications as needed; preparation and filing of motions pursuant to 11 USC
                      522(f)(2flA) for avoidance of liens on household goods.

6.       By agreement with the debtor(s), the above-disclosed fee does not include the following service:
                 Representation of the debtors in any dischargeability actions, judicial lien avoidances, relief from stay actions or
                 any other adversary proceeding.
                                                                          CERTIFICATION
       I certify that the foregoing is a complete statement of any agreement or arrangement for payment tome for representation of the debtor(s) in
 this bankruptcy proceeding.

        August 13, 2021                                                            is! RobertO Lampl
        Daft’                                                                      RobertO Lampl 19809
                                                                                   Signature of:1 ttonzev
                                                                                   RobertO Lampl Law Office
                                                                                   Benedum Trees Building
                                                                                   223 Fourth Avenue, 4th Floor
                                                                                   Pittsburgh, PA 15222
                                                                                   412-392-0330 Fax: 412-392-0335
                                                                                   rlampl@lampllaw.com
                                                                                   Wa,,te of/ait JirI)l




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                                                              United States Bankruptcy Court
                                                                   Western District of Pennsylvania
   In re     Michael T. Cioffi                                                                        Case No.   21-21632
                                                                                   Debtor(s)          Chapter    7



                                                 VERIFICATION OF CREDITOR MATRIX


 The above-named Debtor hereby verifies that the attached list of creditors is true and correct to the best of his/her knowledge.



  Date:     August 13, 2021                                            1sf Michael T. Cioffi
                                                                       Michael T. Cioffi
                                                                       Signature of Debtor




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                                             -
                                                                                                                            Best Case Bankruptcy
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                     Clarion Federal Credit Union
                     144 Holiday Inn Road
                     Clarion, PA 16214

                     Dominion Transmission
                     925 White Oaks Blvd
                     Bridgeport, WV 26330

                     Elderton Bank
                     143 North Main Street
                     Elderton, PA 15736

                     Hero Rentals
                     c/c Andrew D. Shannon
                     Robb Leonard Mulvihill
                     500 Grant Street, Suite 2300
                     Pittsburgh, PA 15219

                     JVNV Funding, LLC
                     P0 Box 10497
                     Greenville, SC 29603

                     Rintegrity LLC
                     o/o Jana S. Pail
                     Whiteford, Taylor, Preston LLP
                     200 First Avenue, 3rd Floor
                     Pittsburgh, PA 15222

                     S&T Bank
                     P0 Box 190
                     Indiana, PA 15701

                     Sailie Mae
                     P0 Box 70233
                     Philadelphia,      PA 19176—0233

                     US AA
                     10750 McDermott Freeway
                     San Antonio, TX 78288

                     Welton D. Shipe
                     c/c Bradley M. Bassi
                     Bassi, Vreeland & Associates, PC
                     111 Fallowfield Avenue
                     Charleroi, PA 15022
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       EMPLOYEE INCOME
           RECORD
     Case 21-21632-JAD                            Doc 12          Filed 08/13/21 Entered 08/13/21 11:45:23                               Desc Main
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                                                    ROt MARYLAND Ut                                                               earren ausiness Services. Inc.
                                        OBA: ERS/ART    of Dc, MO and VA Metro                                                       4940 CaIphell alvd suite 2%
                                                   1017 BRIGHTSEAT RD
                                                  HYATTSVILLE, Ic 20765                                                                       Baitleore, 1021236
                                                                                                                               FUN: 52-0S12977 TELC: 410/583-7711
Employ.e     Th7071 Mdiael T. doffi
stmus?AIIew 101 !       EnTyp. Salary                                     Checks 0019559765                  !iEi!scrlptlon         Amount         Y-T-D     Taxable
                                                                       0?-U-2021                               MEPI CARE              50.75        710.50     40000.00
P.yn.ne Dr. 07’16-?ofl Penod     06-28-2021                       -
                                                                                                               5 SECURITY            217.00       3038.00     49000.00


I Location             Description                     Rate           Hours/
                                                                       Units
                                                                                 Amount
(_
Main                   SALARY                                                     3150.00      72.00
Main                   Hainay                                                      350.00       0.00




                          Toni Gross Pay / Fcrs rked                             3,500.00       72.00
                                  Start                                                                                                       Current                VIE
  PTO                           Balance    Earned        Taken                  Direct Jirpe    Account   Amount
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                PAW T1!            0.00                                       D spoilt1
                  co,roy:a         0.00        80.00      80.00          0:00                                            G,. Psi
                                               80.00      .00
                                   0.00                                                           Nt P.yj           I
                                                                                                                  3,232.25       45,251.50
 Review this pay stt to ensure its accuracy. tcdi’ yar e.plc,’er of azl errors. or dwoes to nane, akiress, or tax widViaIthng q’tluis.


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       4940 campbell Blvd suite 250                                                                         07—16—2021
       Baltimore, MD 21236
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                                      Drive
                          GREENSBURG, PA 15601




            4940 QJTçbell Blvd suite 250
            Baltimore, ID 21236



                                                                     Michael T. cioffi
                                                                     2842 Greene Drive
                                                                     GREENSBURG, PA 15601



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       p12837           tn/An at x, ‘C    nd   VA btro
